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Attorneys for Plaintiffs
Eagle Pharmaceuticals, Inc., and
Chiesi USA, Inc.


                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


EAGLE PHARMACEUTICALS, INC.
and CHIESI USA, INC.,
                                                       Civil Action No. ________________
                      Plaintiffs,
                                                       COMPLAINT FOR
       v.                                              PATENT INFRINGEMENT
ACCORD HEALTHCARE, INC.,                                       (Filed Electronically)
                      Defendant.


       Plaintiffs Eagle Pharmaceuticals, Inc. (“Eagle”) and Chiesi USA, Inc. (“Chiesi”)

(collectively, “Plaintiffs”), by their undersigned attorneys, for their Complaint against Defendant

Accord Healthcare, Inc. (“Accord” or “Defendant”) allege as follows:

                                      Nature of the Action

       1.        This complaint is an action for patent infringement under the patent laws of the

United States, 35 U.S.C. §100, et seq., arising from the filing of New Drug Application (“NDA”)

No. 212035 with the United States Food and Drug Administration (“FDA”) seeking approval to

commercially market a generic version of Plaintiffs’ Argatroban Injection drug product prior to
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the expiration of United States Patent Nos. 7,589,106 (the “’106 patent”) and 7,687,516 (the

“’516 patent”) (collectively, “the patents-in-suit”), all owned by Plaintiffs.

                                             The Parties

       2.        Plaintiff Eagle Pharmaceuticals, Inc. is a corporation organized and existing

under the laws of Delaware, with its corporate offices and principal place of business at 50 Tice

Boulevard, Suite 315, Woodcliff Lake, New Jersey 07677.

       3.        Plaintiff Chiesi U.S.A., Inc. is a company organized and existing under the laws

of the State of Delaware, and its principal place of business is located at 175 Regency Woods

Place, Ste. 600, Cary, North Carolina 27518.

       4.        On information and belief, Defendant Accord Healthcare, Inc. is a North

 Carolina corporation, having a principal place of business at 1009 Slater Road, Suite 210-B,

 Durham, North Carolina 27703.

                                        The Patents-in-Suit

       5.        On September 15, 2009, the United States Patent and Trademark Office

(“USPTO”) duly and lawfully issued the ’106 patent, entitled, “Alcohol Free Formulation of

Argatroban.” The ’106 patent is assigned to Eagle. Chiesi is the exclusive licensee of all rights

in the ’106 patent that are relevant to this litigation. A copy of the ’106 patent is attached hereto

as Exhibit A.

       6.        On March 30, 2010, the USPTO duly and lawfully issued the ’516 patent,

 entitled, “Alcohol Free Formulation of Argatroban.” The ’516 patent is assigned to Eagle.

 Chiesi is the exclusive licensee of all rights in the ’516 patent that are relevant to this litigation.

 A copy of the ’516 patent is attached hereto as Exhibit B.




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                           The Argatroban Injection Drug Product

       7.        Eagle holds an approved NDA under Section 505(a) of the Federal Food Drug

and Cosmetic Act (“FFDCA”), 21 U.S.C. § 355(a), for argatroban injections (NDA No. 022434),

which Chiesi markets under the name argatroban injection. Argatroban Injections are an FDA-

approved medication used for the treatment of thrombosis.

       8.        The claims of the patents-in-suit cover, inter alia, methods of use, treatment,

and administration of argatroban, as well as pharmaceutical formulations comprising argatroban.

       9.        Pursuant to 21 U.S.C. § 355(b)(1) and attendant FDA regulations, the

patents-in-suit are listed in the FDA publication, “Approved Drug Products with Therapeutic

Equivalence Evaluations” (the “Orange Book”), with respect to Argatroban Injections.

                                     Jurisdiction and Venue

       10.       This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331, 1338(a), 2201, and 2202.

       11.       Venue is proper in this Judicial District pursuant to 28 U.S.C. §§ 1391 and/or

 1400(b).

           12.   This Court has personal jurisdiction over Accord by virtue of, inter alia,

 Accord’s systematic and continuous contacts with the State of New Jersey. On information

 and belief, Accord has purposefully conducted and continues to conduct business in this

 Judicial District, and has purposefully availed itself of the privilege of doing business in New

 Jersey.

           13.   On information and belief, Accord is licensed with the State of New Jersey

 Department of Health as a “Manufacturer” of pharmaceuticals (Registration No. 5003815).




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        14.     On information and belief, Accord is in the business of, among other things,

manufacturing, marketing, importing, offering for sale, and selling pharmaceutical products,

including generic drug products, throughout the United States, including in this Judicial

District. On information and belief, this Judicial District will be a destination for the generic

drug product described in NDA No. 212035 (“Accord’s Proposed Product”). On information

and belief, Accord prepares and/or aids in the preparation and submission of NDAs to the

FDA.

        15.     On information and belief, Accord maintains extensive and systematic contacts

with pharmaceutical retailers, wholesalers, and/or distributors in New Jersey providing for the

distribution of Accord’s products in the State of New Jersey, including in this Judicial District.

        16.     On information and belief, Accord regularly and continuously transacts business

within New Jersey, including by making pharmaceutical products for sale in New Jersey and

selling pharmaceutical products in New Jersey, including in this Judicial District. On

information and belief, Accord derives substantial revenue from the sale of those products in

New Jersey, including in this Judicial District.

        17.     On information and belief, Accord filed NDA No. 212035 and, upon regulatory

approval, will manufacture, use, import, market, offer for sale, sell, and distribute Accord’s

Proposed Product, throughout the United States, including in New Jersey (including this

Judicial District), prior to the expiration of the patents-in-suit.

        18.     Further, this Court has personal jurisdiction over Accord because Accord has

previously been sued in this District and has not challenged personal jurisdiction. Accord has

also affirmatively availed itself of the jurisdiction of this Court by filing counterclaims in this

District. See, e.g., Sumitomo Dainippon Pharma Co., Ltd., et al v. Aurobindo Pharma Ltd., et



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 al, Civ. No. 18-2620 (D.N.J.); Otsuka Pharma. Co., Ltd. v. Intas Pharma. Ltd., et al, Civ. No.

 16-5743 (D.N.J.); Sanofi-Aventis US LLC v. Accord Healthcare, Inc., Civ. No. 14-8079

 (D.N.J.); Otsuka Pharma. Co. v. Intas Pharm. Ltd., Accord Healthcare, Inc., Civ. No. 14-3996

 (D.N.J.).

         19.     This Court has personal jurisdiction over Accord because, inter alia, it has

 committed an act of patent infringement under 35 U.S.C. § 271(e)(2). On information and

 belief, Accord intends a future course of conduct that includes acts of patent infringement in

 New Jersey, including in this Judicial District. These acts have led and will continue to lead to

 foreseeable harm and injury to Plaintiffs in New Jersey and in this Judicial District.

                                  Acts Giving Rise To This Suit

       20.       Pursuant to Section 505 of the FFDCA, Accord submitted NDA No. 212035

seeking approval to engage in the commercial manufacture, use, offer for sale, sale, or

importation into the United States of Argatroban Injections before the patents-in-suit expire.

       21.       On information and belief, following FDA approval of NDA No. 212035,

Accord will make, use, offer to sell, or sell Accord’s Proposed Product throughout the United

States, or import such generic product into the United States.

       22.       On information and belief, in connection with the filing of NDA No. 212035 as

described above, Accord provided a written certification to the FDA, as called for by Section 505

of the FFDCA, 21 U.S.C. § 355(b)(2)(A)(iv) (“Accord’s Paragraph IV Certification”), alleging

that the claims of the patents-in-suit are invalid, unenforceable, and/or will not be infringed by

the activities described in NDA No. 212035.

       23.       No earlier than February 12, 2019, Eagle received Accord’s written notice of its

Paragraph IV Certification (“Accord’s Notice Letter”). Accord’s Notice Letter alleged that the



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claims of the patents-in-suit are invalid and/or will not be infringed by the activities described in

NDA No. 212035. Accord’s Notice Letter also informed Eagle that Accord seeks approval to

market Accord’s Proposed Product before the patents-in-suit expire.

                            Count I: Infringement of the ’106 Patent

        24.       Plaintiffs repeat and reallege the allegations of the preceding paragraphs as if

fully set forth herein.

        25.       Defendant’s submission of NDA No. 212035 to engage in the commercial

manufacture, use, offer for sale, sale, or importation into the United States of Accord’s Proposed

Product, prior to the expiration of the ’106 patent, constitutes infringement of one or more of the

claims of that patent under 35 U.S.C. § 271(e)(2)(A).

        26.       There is a justiciable controversy between Plaintiffs and Defendant as to the

infringement of the ’106 patent.

        27.       Unless enjoined by this Court, upon FDA approval of NDA No. 212035,

Defendant will infringe one or more claims of the ’106 patent under 35 U.S.C. § 271(a) by

making, using, offering to sell, selling, and/or importing Accord’s Proposed Product in the

United States.

        28.       Unless enjoined by this Court, upon FDA approval of NDA No. 212035,

Defendant will induce infringement of one or more claims of the ’106 patent under 35 U.S.C. §

271(b) by making, using, offering to sell, selling, and/or importing Accord’s Proposed Product in

the United States. On information and belief, upon FDA approval of NDA No. 212035,

Defendant will intentionally encourage acts of direct infringement with knowledge of the ’106

patent and knowledge that its acts are encouraging infringement.




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        29.       Unless enjoined by this Court, upon FDA approval of NDA No. 212035,

Defendant will contributorily infringe one or more claims of the ’106 patent under 35 U.S.C. §

271(c) by making, using, offering to sell, selling, and/or importing Accord’s Proposed Product in

the United States. On information and belief, Defendant has had and continues to have

knowledge that Accord’s Proposed Product is especially adapted for a use that infringes one or

more claims of the ’106 patent and that there is no substantial non-infringing use for Accord’s

Proposed Product.

        30.       Plaintiffs will be substantially and irreparably damaged and harmed if

Defendant’s infringement of the ’106 patent is not enjoined.

        31.       Plaintiffs do not have an adequate remedy at law.

        32.       This case is an exceptional one, and Plaintiffs are entitled to an award of their

reasonable attorneys’ fees under 35 U.S.C. § 285.

                            Count II: Infringement of the ’516 Patent

        33.       Plaintiffs repeat and reallege the allegations of the preceding paragraphs as if

fully set forth herein.

        34.       Defendant’s submission of NDA No. 212035 to engage in the commercial

manufacture, use, offer for sale, sale, or importation into the United States of Accord’s Proposed

Product, prior to the expiration of the ’516 patent, constitutes infringement of one or more of the

claims of that patent under 35 U.S.C. § 271(e)(2)(A).

        35.       There is a justiciable controversy between Plaintiffs and Defendant as to the

infringement of the ’516 patent.

        36.       Unless enjoined by this Court, upon FDA approval of NDA No. 212035,

Defendant will infringe one or more claims of the ’516 patent under 35 U.S.C. § 271(a) by



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making, using, offering to sell, selling, and/or importing Accord’s Proposed Product in the

United States.

       37.       Unless enjoined by this Court, upon FDA approval of NDA No. 212035,

Defendant will induce infringement of one or more claims of the ’516 patent under 35 U.S.C. §

271(b) by making, using, offering to sell, selling, and/or importing Accord’s Proposed Product in

the United States. On information and belief, upon FDA approval of NDA No. 212035,

Defendant will intentionally encourage acts of direct infringement with knowledge of the ’516

patent and knowledge that its acts are encouraging infringement.

       38.       Unless enjoined by this Court, upon FDA approval of NDA No. 212035,

Defendant will contributorily infringe one or more claims of the ’516 patent under 35 U.S.C. §

271(c) by making, using, offering to sell, selling, and/or importing Accord’s Proposed Product in

the United States. On information and belief, Defendant has had and continues to have

knowledge that Accord’s Proposed Product is especially adapted for a use that infringes one or

more claims of the ’516 patent and that there is no substantial non-infringing use for Accord’s

Proposed Product.

       39.       Plaintiffs will be substantially and irreparably damaged and harmed if

Defendant’s infringement of the ’516 patent is not enjoined.

       40.       Plaintiffs do not have an adequate remedy at law.

       41.       This case is an exceptional one, and Plaintiffs are entitled to an award of their

reasonable attorneys’ fees under 35 U.S.C. § 285.




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                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs respectfully request the following relief:

        (A)     A Judgment that Defendant has infringed the patents-in-suit by submitting NDA

No. 212035;

        (B)     A Judgment that Defendant has infringed, and that Defendant’s making, using,

offering to sell, selling, or importing Accord’s Proposed Product will infringe one or more claims

of the patents-in-suit;

        (C)     An Order that the effective date of FDA approval of NDA No. 212035 be a date

which is not earlier than the later of the expiration of the patents-in-suit, or any later expiration of

exclusivity to which Plaintiffs are or become entitled;

        (D)     Preliminary and permanent injunctions enjoining Defendant and its officers,

agents, attorneys and employees, and those acting in privity or concert with them, from making,

using, offering to sell, selling, or importing Accord’s Proposed Product until after the expiration

of the patents-in-suit, or any later expiration of exclusivity to which Plaintiffs are or become

entitled;

        (E)     A permanent injunction, pursuant to 35 U.S.C. § 271(e)(4)(B), restraining and

enjoining Defendant, its officers, agents, attorneys and employees, and those acting in privity or

concert with them, from practicing any methods of use and administration of Argatroban

Injections, or pharmaceutical formulations containing argatroban, as claimed in the patents-in-

suit, or from actively inducing or contributing to the infringement of any claim of the patents-in-

suit, until after the expiration of the patents-in-suit, or any later expiration of exclusivity to which

Plaintiffs are or become entitled;




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       (F)     A Judgment that the commercial manufacture, use, offer for sale, sale, and/or

importation into the United States of Accord’s Proposed Product will directly infringe, induce

and/or contribute to infringement of the patents-in-suit;

       (G)     To the extent that Defendant has committed any acts with respect to the methods

of use, treatment, and administration of argatroban, or pharmaceutical formulations containing

argatroban, claimed in the patents-in-suit, other than those acts expressly exempted by 35 U.S.C.

§ 271(e)(1), a Judgment awarding Plaintiffs damages for such acts;

       (H)     If Defendant engages in the commercial manufacture, use, offer for sale, sale,

and/or importation of Accord’s Proposed Product into the United States prior to the expiration of

the patents-in-suit, a Judgment awarding damages to Plaintiffs resulting from such infringement,

together with interest;

       (I)     A Judgment declaring that the patents-in-suit remain valid and enforceable;

       (J)     A Judgment that this is an exceptional case pursuant to 35 U.S.C. § 285 and

awarding Plaintiffs their attorneys’ fees incurred in this action;

       (K)     A Judgment awarding Plaintiffs their costs and expenses incurred in this action;

and

       (L)     Such further and other relief as this Court may deem just and proper.




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Dated: March 27, 2019                       s/ Charles M. Lizza
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                                            William C. Baton
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                                            Chiesi USA, Inc.




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                     CERTIFICATION PURSUANT TO L. CIV. R. 11.2

       I hereby certify that, to the best of my knowledge, the matter in controversy is not the

subject of any other action pending in any court or of any pending arbitration or administrative

proceeding.




Dated: March 27, 2019                                  s/ Charles M. Lizza
                                                       Charles M. Lizza
                                                       William C. Baton
                                                       Sarah A. Sullivan
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                 EXHIBIT A
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                                                                                                                 US0075891 06B2


(12) United States Patent                                                                       (10) Patent No.:               US 7,589,106 B2
       Palepu                                                                                   (45) Date of Patent:                    *Sep. 15, 2009
(54) ALCOHOL FREE FORMULATION OF                                                                 5,506,241 A       4/1996 Mano et al.
        ARGATROBAN                                                                               5,679,690 A      10, 1997 Andre et al.
                                                                                                 6,232,315 B1      5, 2001 Shafer et al.
(75) Inventor: Nageswara R. Palepu. South Hampton,                                               6,495,534 B2     12/2002 Colombo et al.
                       PA (US)                                                             2004/0242582 A1        12/2004 Green et al.
                                                                                           2007/00496.17 A1        3, 2007 Owoo
(73) Assignee: Eagle Pharmaceuticals, Inc., Woodcliff
                       Lake, NJ (US)                                                                    FOREIGN PATENT DOCUMENTS
(*) Notice:            Subject to any disclaimer, the term of this                        EP
                                                                                          EP
                                                                                                            O608828
                                                                                                            O608831
                                                                                                                              1, 1994
                                                                                                                              3, 1994
                       patent is extended or adjusted under 35                            EP                O621.036          4f1994
                       U.S.C.
                         M YW- 154(b) by
                                       yU0 days.
                                           days                                           WO            2004-026,252          4/2004

                       This patent is Subject to a terminal dis
                       claimer.                                                                             OTHER PUBLICATIONS
                                                                                          Solomon, Seth Aqueous Humor Dynamics, Revised 2002, pp. 1-17.*
(21) Appl. No.: 11/904,067                                                                Abstract of JP 56015267AFeb. 14, 1981 (equivalent to JP 1382377C
                                                                                          Jun. 9, 1987).
(22) Filed:            Sep. 26, 2007                                                      International Search Report and Written Opinion of the International
                                          O    O                                          Searching Authority from related PCT/US2007/20725 (11 pg).
(65)                Prior Publication Data                                                International Search Report and Written Opinion of the International
        US 2008/OO76798 A1     Mar. 27, 2008                                              Searching Authority from related PCT/US2007/21533(9 pg).
                                                                                          * cited by examiner
                  Related U.S. Application Data                                                     y
                                                                                          Pri       Examiner Sharmila Gollamudi Land
(60) Provisional application No. 60/850,725, filed on Oct.                                AC, E. E. L RE 1 aGall
     A.F:S application No. 60/847,556,                                                    (74) Attorney, Agent, or Firm Lucas & Mercanti, LLP
(51) Int. Cl                                                                              (57)                      ABSTRACT
        A 6LX 3L/24709                 2006.O1
        A6 IK 3/445
                                   (
                                   (2006.01)
                                                   )                                      An aqueous- 0 formulation of argatroban and of related com
        A6IP 7/02                  (2006.01)                                              pounds is disclosed
                                                                                                        - 0   along with a reconstitutable formulation,
(52) U.S. Cl. ...................................................... 514/314              each of which is substantially, if not totally alcohol free. The
 58) Field of Classification S                 h                                514/314   formulations are also substantially free, if not totally free, of
(58)            O li assi site           eas           - - - - - - - - - -hhi             mono-, di-, and oligo-Saccharides. An especially preferred
          ee application file for complete search history.                                embodiment is a ready-to-administer 1 mg/ml injectable dos
(56)                   References Cited                                                   age form having argatroban, lactobionic acid, and methion
                                                                                          ine.
                  U.S. PATENT DOCUMENTS
       5,214,052 A          5, 1993 Ofuchi                                                                     23 Claims, No Drawings
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                                                     US 7,589,106 B2
                              1.                                                                  2
        ALCOHOL FREE FORMULATION OF                                    Such as monoalcohols of 1-4 carbon atoms, especially etha
               ARGATROBAN                                              nol, and still obtain solutions of sufficient concentration for
                                                                       use in parenteral administration.
           CROSS-REFERENCE TO RELATED
                  APPLICATIONS                                            A further object of the invention is to provide anargatroban
                                                                       formulation that is substantially free of saccharides, inclusive
   This application claims the benefit of priority of U.S. Pro         of mono-saccharides, di-saccharides, oligosaccharides, and
visional Application Ser. No. 60/850/725, filed Oct. 11, 2006          their corresponding Sugar alcohols.
and U.S. Provisional Application Ser. No. 60/847,556, filed               Another object of the invention is to provide a dosage form
Sep. 27, 2006. Reference is also made to co-owned PCT             10   of argatroban that is not as concentrated so that further dilu
application filed concurrently herewith having the same title          tion for use does not result in substantial waste of material in
and inventorship as the instant application and claiming pri           most typical administration settings.
ority from the same two provisional applications above. Each
of these applications as well as each patent and patent appli             A further object of the invention is to provide a dosage form
cation mentioned in the rest of this specification is incorpo     15   of argatroban not requiring an extensively large dilution, yet
rated herein by reference in their entireties.                         be concentrated sufficiently to be convenient for preparing for
                                                                       use and less Subject to dissolution errors than with current
      STATEMENT REGARDING FEDERALLY                                    marketed argatroban.
    SPONSORED RESEARCH ORDEVELOPMENT
                                                                          Still a further object of the invention is to provide 1 mg/ml
  Not Applicable                                                       ready-to-administer solutions of argatroban in 5 ml to 500 ml
                                                                       vials and 25 ml to 500 ml infusion bags.
               FIELD OF THE INVENTION                                     Yet another object of the invention is to provide an arga
                                                                       troban ready-to-administer formulation having a storage sta
   The present invention relates to argatroban and to the solu    25   bility of at least about 18 months.
bilization thereof to yield injectable and other aqueous solu             Still another object of the invention is to provide an arga
tions of desired concentration in aqueous media without the            troban ready-to-administer formulation having a substantial
need for alcohols or other solvents and without the use of
saccharides.                                                           stability with respect to pH in a terminal sterilization opera
                                                                  30   tion.
         BACKGROUND OF THE INVENTION                                      An even further object of the invention is to provide an
                                                                       argatroban ready-to-administer formulation having a sub
   Argininesulfonamides are known to have anti-thrombotic              stantial stability with respect to degradation product in a
activities (see e.g., Japanese Patent No. 1382377). However,           terminal sterilization operation.
it is very difficult to obtain a solution containing any of the   35
                                                                          An even further object of the invention is to provide an
argininesulfonamides at high concentrations due to their gen           argatroban ready-to-administer formulation having a Sub
eral poor solubility in water. Therefore these compounds are           stantial stability with respect to degradation product in the
generally not suitable for use in injection formulations con           presence of an antioxidizing agent Such as methionine in an
taining them at high concentrations. U.S. Pat. No. 5,214,052           aseptic operation or in a terminal sterilization operation.
attempts to solve this problem by dissolving these com            40
pounds in a dissolution media containing water, ethanol, and              Still another object of the invention is the use of lactobionic
a saccharide (inclusive of monosaccharides, disaccharides,             acid as a solubilizer and/or stabilizer to enhance the aqueous
oligosaccharides and their reduced Sugar alcohol counter               solubility as well as stability of argatroban.
parts). Argatroban, currently marketed by Encysive in the                 Yet another object of the invention is to provide an arga
U.S., is sold as a 2.5 ml vial of 100 mg/ml argatroban con        45
                                                                       troban ready-to-administer aqueous solution for injection
centrate having 750 mg D-sorbitol, and 1000 mg dehydrated              having carbonate and/or bicarbonate ion present.
alcohol per ml, which concentrate is Subsequently diluted to              Yet further objects of the invention will be apparent to
1 mg/ml argatroban for actual use. While that formulation
allows for advantages in packaging and dissolution to final            those of ordinary skill in the art.
concentration, it suffers from the drawback of having ethanol     50
present in a not insignificant amount, especially when the                          SUMMARY OF THE INVENTION
patient in question is of Smaller body weight. Current admin
istration rates include 6 ml/hr (of the 1 mg/ml diluted solu              The invention provides a method for dissolving argatroban
tion) for a 50 kg patient to 17 ml/hr (of the 1 mg/ml diluted          comprising dissolving argatroban or a pharmaceutically
solution) for a 140 kg patient each for the duration of the       55   acceptable salt thereof in an aqueous buffer system that is
procedure for which argatroban administration is desired.              substantially free of lower alcohols and is substantially free of
Thus, each vial supplied provides 250 ml of administrable              saccharides (e.g., mono-, di-, and oligo-Saccharides and their
diluted Solution, resulting in Substantial waste of material in        corresponding Sugar alcohols). Further, the invention pro
all but the most prolonged procedures (250 ml being suffi              vides pharmaceutical compositions containing argatroban.
cient for over 40 hours for a 50 kg patient and over 14 hours     60
for a 140 kg patient).                                                     DETAILED DESCRIPTION OF THE INVENTION
              OBJECT OF THE INVENTION
                                                                         In certain embodiments, the invention provides a method
  An object of the invention is to provide a method for           65   for dissolving argatroban comprising dissolving an N-aryl
improving the Solubility of argatroban in a completely aque            Sulfonyl-L-arginine having general formula (I) or a pharma
ous system, in particular avoiding the use of organic solvents         ceutically acceptable salt thereof
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                                                         US 7,589,106 B2
                                                                                                           4
                                                                            appropriate pH can be reached using Such salt or mixture of
                                                                            salt and acid. More highly preferred amino acids are arginine,
                                          O        OH
                                                                 (I)        glycine, and methionine. In this first embodiment, arginine
                                      O                                     and glycine are even more highly preferred, while in a second
                                                                            embodiment discussed more specifically below, methionine
                                                                            is an even more highly preferred amino acid.
     HN ~                                                                       In the present invention, reference to a given weight of a
                                                                            compound that can exist as a salt or in free form is with
                H             H1 Ys S.                  CH3                 reference to the free form of the compound. Thus, for a
                                   21so                                10   compound Such as argatroban having a molecular weight of
                                               H                            526 g, and monosodium argatroban having a molecular
                                               N                            weight of 548 Dalton, and argatroban monohydrochloride
                                                                            having a molecular weight of 561 Dalton, an indication of
                                                                            “52.6 mg of argatroban’ will mean 52.6 mg of argatroban
                                                        CH             15   non-salt form, or if the monosodium salt is being discussed,
                                                                            52.6 mg of argatroban will mean 54.8 mg of monosodium
                                                                            argatroban having 52.6 mg of the argatroban moiety present,
The compound exists as isomers and for purposes of this                     or if the argatroban monohydrochlodride is being discussed,
application, reference to "argatroban’ (unless indicated or the             it will mean 56.1 mg of argatroban monohydrochloride hav
context requires otherwise) refers to the individual isomers as             ing 52.6 mg of the argatroban non-salt moiety present. Cor
well as the various mixtures of isomers in various propor                   responding calculations to find the exact weight of the salt
tions. Currently marketed argatroban has the chemical name                  form under discussion for other salts are known to those of
set forth in its labeling as (2R,4R)-1-N'-(3-methyl-1,2,3,4-                ordinary skill in the art. Weights of amino acids will also be
tetrahydro-8-quinoline-Sulfonyl)-L-arginyl-4-methyl-2-pi                    referenced to the non-salt forms thereof with appropriate
peridinecarboxylic acid. Further, unless indicated otherwise           25   calculations to find the precise weight of a particular salt
or the context requires otherwise, reference to “argatroban'                being known to those of ordinary skill in the art.
includes reference to the various pharmaceutically acceptable                 The amino acid is generally present in amounts that are
salts thereof, whether salts thereof with acids or bases.                   about 1.5 to about 2.5, preferably about 2 times the amount of
   The invention can use the pharmaceutically acceptable                    the compound of formula (I) present (based on the non-salt
salts of argatroban. The salts may be acid addition salts (there       30   form of argatroban). The carboxylic acid (other than carbonic
being a free carboxy group present) prepared by reacting the                acid salt) is generally present in amounts that are about 1.5 to
argatroban or a different salt thereof (inclusive of (a) pharma             about 2.5, preferably about 2 times the amount of argatroban
ceutically acceptable salts other than the salt being made and              present (based on the argatroban moiety), while the carbonic
(b) pharmaceutically unacceptable salts) with any pharma                    acid salt is generally present in an amount of about 1.4 to
ceutically acceptable inorganic or organic acid Such as, with          35   about 5.2 (based on CO content) times the amount of arga
out limitation, hydrochloric acid, hydrobromic acid,                        troban present (based on the argatroban moiety), preferably
hydroiodic acid, Sulfuric acid, nitric acid, phosphoric acid,               about 1.5 to about 2.5 times, more preferably about 1.9 to
carbonic acid, acetic acid, citric acid, maleic acid, Succinic              about 2.0 times when the amino acid is absent and preferably
acid, lactic acid, tartaric acid, gluconic acid, glucuronic acid,           about 3.0 to about 5.2 times, more preferably about 4.1 to
ethers of glucuronic acid orgluconic acid (such as lactobionic         40   about 4.2 times when the amino acid is present. Those of
acid), benzoic acid, methanesulfonic acid, ethanesulfonic                   ordinary skill in the art will be able to adjust these amounts for
acid, benzenesulfonic acid and p-toluenesulfonic acid. Fur                  the situation where both a carboxylic acid (other than car
ther, the salts may be inorganic or organic salts prepared by               bonic acid salt) is present in combination with a carbonic acid
reacting the argininesulfonamide of general formula (I) with                salt.
any pharmaceutically acceptable organic or inorganic bases             45      Water as used in the present invention (unless indicated
Such as Sodium hydroxide, potassium hydroxide, ammonium                     otherwise or the context requires otherwise) includes aqueous
hydroxide, sodium bicarbonate, sodium carbonate, potas                      injectable fluids including, but not limited to, distilled water,
sium bicarbonate, potassium carbonate, ammonium bicar                       purified water, water for injection, a physiological Saline,
bonate, ammonium carbonate, triethylamine, procaine,                        Ringer's Solution, Lactated Ringer's Solution and 5% dex
dibenzylamine, N,N'-dibenzylethylenediamine and N-eth                  50   trose solution.
ylpiperidine.                                                                  The manner of how to dissolve the argatroban in water and
   In one method for dissolving argatroban according to the                 optionally in an amino acid aqueous solution is not particu
invention, the argatroban and/or its salt is dissolved in an                larly limited. Generally, the amino acid (or its salt or a mixture
amino acid aqueous Solution. The amino acid used in the                     of the amino acid and its salt), when present, is dissolved in
invention is preferably selected from arginine, glycine,               55   water and then the pH is adjusted upward, if need be, to about
methionine, or otheramino acids with at least one basic group               pH 8.7 to about 10 with the addition of inorganic or organic
pKad9.0 or mixtures thereof. The amino acid can be used as                  base (or salts of carboxylic acid or mixtures of its salts and
the acid or a salt thereof or mixtures thereof. While either D              their conjugate acids or conjugate bases (inclusive of alkali
or L- or D.L-amino acids can be used, L-amino acids are                     metal salt(s) and ammonium salts of carbonic acid)) thereto
generally preferred in this first embodiment. In another               60   followed by mixing. These two steps can be reversed if
embodiment, discussed below, D.L-amino acids are generally                  desired. Next, the argatroban is slowly added while stirring
preferred. The pH of the drug and amino acid solution is                    until complete dissolution. If desired, but not required, the pH
adjusted to about 8.0 to about 10.0 with one or more pharma                 can then be adjusted downward using any suitable inorganic
ceutically acceptable carboxylic acids such as, without limi                or organic acid or buffer thereof. Where concentrates are to be
tation, acetic acidor any other carboxylic acid ordicarboxylic         65   made for subsequent dilution, higher pH can be tolerated for
acid or hydroxy carboxylic acid; and may be adjusted with                   the dissolution and storage phase as the Subsequent dilution
either the acid itself, or a salt thereof, or mixtures thereof if an        will bring the pH closer to physiologic pH before injection.
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                                5                                                                    6
Concentrates having the amino acid in the range of 50 mg/ml             preferably less than about 2.5%, even more preferably less
(especially when using arginine as the amino acid) will have            than about 1%, yet more preferably less than about 0.05%
a pH as high as about 11 to about 11.5 before addition of the           w/v. Inclusion of methionine or another anti-oxidant amino
argatroban. In these concentrates, the argatroban is dissolved          acid improves the product stability especially with respect to
and the pH is adjusted downward into the range of about 8.7        5    terminal sterilization, and is therefore one particularly pre
to 9.5 as discussed above using an appropriate acid or buffer.          ferred embodiment.
Where a ready-to-administer injection formulation is desired,              In this embodiment, it is preferable to first heat the water,
the ready-to-administer product pH should generally not be              preferably to boiling, then allow the water to cool to a tem
greater than about pH about 9.2, and more preferably is usu             perature of about 30-50° C., preferably about 35° C. The
ally about pH 8.7, about 8.8, or about 8.9.                        10   carboxylic acid (preferably lactobionic acid or pharmaceuti
   The temperature on dissolution is not particularly limited.          cally acceptable salt thereof and/or alkali metal or ammonium
When the argatroban is dissolved in water, however, it is               salt of carbonic acid) is added and dissolved. Then, any
preferable to warm the water to about 40°C. to about 70° C.             optional amino acid is added and dissolved. Then the arga
for accelerating the dissolution rate.                                  troban (or a pharmaceutically acceptable salt thereof) is
   The concentration of argatroban in the solution can be          15   added and dissolved. In this procedure, the amino acid and
selected within a wide range depending on the intended uses.            carboxylic acid addition steps can be reversed, if desired, or
According to the invention, the solution in which the arga              the amino acid can be added after the argatroban. The pH is
troban is dissolved may result in concentrations of argatroban          adjusted as convenient at any point prior to the addition of the
that are several fold higher than the concentrations of arga            compound of formula (I) or pharmaceutically acceptable salt
troban typically obtained with the solubility of argatroban in          thereof to a pH in excess of about 8.5, preferably in excess of
water alone. Most advantageously for the present invention,             about 8.6, more preferably to about pH 8.7 to about 9.2, still
the argatroban can be dissolved up to about 7.5 mg/ml, pref             more preferably about 8.7, about 8.8, about 8.9, about 9.0,
erably about 6 mg/ml, most preferably about 5 mg/ml. An                 about 9.1 or about 9.2, so as to aid in the dissolution of the
additional embodiment within the invention is a ready-to                compound of formula (I).
administer solution of about 0.8 to about 1.25 mg/ml, prefer       25     Higher pHs are acceptable for the dissolution phase for
ably about 0.9 to about 1.1 mg/ml, more preferably about 1              concentrate formulations that will be further diluted before
mg/ml argatroban. All amounts presented are amounts of                  actual injection, provided the dilution brings down the pH to
argatroban free compound that is the non-salt. Correponding             a range such that upon dilution to the final use concentration
amounts of various salts will be readily known to those of              the pH is physiologically acceptable for injection purposes,
ordinary skill in the art by routine calculation.                  30   typically less than about 9.2, preferably less than about 9.0,
   In a second embodiment of the invention, the argatroban, or          more preferably less than about 8.8, still more preferably
a pharmaceutically acceptable salt thereof, is dissolved in an          about 8.7. If needbe, final adjustment of pH can be made with
aqueous solution of a gluconic or glucuronic acid (or a Sugar           an acid or base or buffer as appropriate such as hydrochloric
ether of either, where the sugar position 1 is etherified with          acid, sodium hydroxide, or a buffer solution of either or both
one of the hydroxyl groups of the gluconic or glucuronic acid,     35   the carboxylic acid/carboxylic acid salt (inclusive of blends
preferably the ether is lactobionic acidora salt thereof) and/or        of alkali metal or ammonium salts of carbonic acid) and/or the
with an alkali metal salt, preferably a sodium salt, of carbonic        amino acid/amino acid salt. Thus, a concentrate formulation
acid (e.g., sodium carbonate, Sodium bicarbonate, and mix               may be prepared within the instant invention which has a
tures thereof) and optionally an amino acid or salt thereof. In         substantially high pH, while the ready-to-administer formu
each case, the salts, if present are pharmaceutically accept       40   lations will have a generally weakly alkaline pH, generally
able salts, and in the case of use of the solution as an inject         greater than about 8.6 and generally less than about 9.2.
able, the salt is compatible with its use in an injectable for             The solution thus obtained containing the argatroban,
mulation. Preferably, the formulation comprises argatroban              amino acid, water and carboxylic acid constitutes a first
or a pharmaceutically acceptable Salt thereof a gluconic acid           embodiment of the pharmaceutical composition of the inven
or glucuronic acid, or an ether of either or a pharmaceutically    45   tion, while the solution containing (a) the argatroban; (b)
acceptable salt thereof (preferably lactobionic acid or a phar          water; (c) (1) gluconic acid, glucuronic acid, and/or ether
maceutically acceptable salt thereof) and/or an alkali metal            thereof, and/or (c) (2) an alkali metal or ammonium salt or
salt of carbonic acid, preferably a sodium salt of carbonic acid        mixtures of alkali metal or ammonium salts of carbonic acid;
or mixture of Sodium salts of carbonic acid; optionally an              and (d) optional (preferably anti-oxidant) amino acid consti
amino acid, preferably an anti-oxidantamino acid (more pref        50   tutes a second embodiment. As will be readily recognized,
erably methionine), arginine, or glycine, either in the D-, L-,         these two embodiments overlap when the carboxylic acid in
or D.L-form, preferably as the D.L-form, the amino acid                 the first embodiment is selected from gluconic acid, glucu
optionally in the form of a pharmaceutically acceptable salt            ronic acid, the ether of either (especially lactobionic acid) and
thereof; and water (which water may further contain an                  alkali metal salt or mixture of alkali metal salts of carbonic
optional inert osmolarity adjuster (other than a saccharide) so    55   acid; and the amino acid in the first embodiment is an anti
as to bring the Solution to an appropriate osmolarity if                oxidant amino acid.
desired); and wherein the formulation is substantially free of             The pharmaceutical compositions of the invention are use
ethanol, preferably in the substantially free of monohydric             ful for treating thrombosis and for treating and/or prophylaxis
alcohols having 1 to 4 carbons; and further, the formulation            of any other condition for which the active agents are already
being Substantially free of mono-, di-, and oligosaccharides       60   known to be useful. Accordingly, the pharmaceutical compo
and their corresponding Sugar alcohols. For the present inven           sitions can be used as anti-thrombotic agents.
tion, “substantial free” when referring to a lower alcohol                 The pharmaceutical composition of the invention may con
means less than about 5% V/V, preferably less than about                tain antiseptic, anti-oxidant, soothing agents and the like. If
2.5%, more preferably less than about 1%, more preferably               necessary, any pharmaceutical ingredient(s) other than the
less than about 0.5% V/vi, while when referring to “saccha         65   argatroban may be added to form a combined preparation,
ride” means less than about 10% w/v., preferably less than              provided such other ingredient is not unacceptable for the
about 7.5%, more preferably less than about 5%, still more              indication and route of administration; however, the invention
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                                7                                                                      8
compositions and processes are substantially free of, if not                                       Example 3
totally free of (1) ethyl alcohol or (2) a saccharide, preferably
a monosaccharide or disaccharide or oligo-Saccharide, more                 Argatroban is dissolved (to a concentration of 5 mg/ml) in
preferably any saccharide (wherein saccharide herein option              an aqueous system containing 50 mg/ml arginine with pH
ally includes the reduced Sugar alcohol counterparts thereto),           adjusted to 9.0 with tartaric acid. The dissolution of arga
or (3) both (1) and (2).                                                 troban is carried out at 25°C.
   The primary composition of the invention in the first
embodiment is a pharmaceutical injectable and is adminis                                           Example 4
tered as an injection. This injectable composition may further
contain stabilizer, buffer, preservative and the like that are      10     Argatroban is dissolved (to a concentration of 5 mg/ml) in
acceptable for injection. If desired, the injectable composi             an aqueous system containing 50 mg/ml arginine with pH
tion according to the invention is prepared to contain arga              adjusted to 9.0 with citric acid. The dissolution of argatroban
troban at a high concentration, which is used by diluting with           is carried out at 25°C.
water, electrolyte (e.g., normal saline, among others), carbo
hydrate solution (e.g., 5% Dextrose), Ringer's solution or the      15                             Example 5
like at or close to the time of administration (such as by
infusion and/or dialysis). The concentrated formulation may                Argatroban is dissolved (to a concentration of 5 mg/ml) in
contain amounts of up to about 7.5 mg argatroban moiety,                 an aqueous system containing 50 mg/ml arginine with pH
preferably up to about 5 mg per ml. This is generally diluted            adjusted to 9.0 with adipic acid. The dissolution of argatroban
for administration to about 1 mg argatroban moiety per ml.               is carried out at 25°C.
Dilution of the concentrate to other concentrations for use as
an injection will be within the ordinary skill in the art. The                                     Example 6
formulation, as detailed further below, can also be prepared as
a lyophilizate or as a sterile dry fill product that can be recon          Argatroban is dissolved (to a concentration of 5 mg/ml) in
stituted with appropriate diluent.                                  25   an aqueous system containing 50 mg/ml lysine with pH
   The primary composition of the invention second embodi                adjusted to 9.0 with acetic acid. The dissolution of argatroban
ment is also as a pharmaceutically acceptable injection for              is carried out at 25°C.
mulation, primarily as a ready-to-administer composition. In
this embodiment, the argatroban moiety is present in a con                                         Example 7
centration of no more than about 1.25 mg/ml, preferably             30
about 1.1 mg/ml, more preferably about 1 mg/ml, in a pH of                 Argatroban is dissolved (to a concentration of 5 mg/ml) in
about 8.5 to about 9.2, preferably about 8.6 to about 8.9, more          an aqueous system containing 50 mg/ml arginine with pH
preferably about pH 8.7 to about 8.9 water solution contain              adjusted to 10.0 with acetic acid. The dissolution of arga
ing (a) as a carboxylic acid, at least one member selected from          troban is carried out at 25°C.
(1) gluconic acid, glucuronic acid, and Sugar ethers thereof,       35
especially lactobionic acid and pharmaceutically acceptable                                        Example 8
salts thereof and/or (2) alkali metal or ammonium salt or
mixture of alkali metal or ammonium salts of carbonic acid,                Argatroban is dissolved (to a concentration of 5 mg/ml) in
and optionally (b) at least one (preferably anti-oxidant) amino          an aqueous system containing 50 mg/ml arginine with pH
acid or pharmaceutically acceptable salt thereof. If the free       40   adjusted to 8.0 with acetic acid. The dissolution of argatroban
argatroban concentration is greater than about 1.0 mg/ml, the            is carried out at 25°C.
concentrate can be diluted with sufficient water of a suitable
pH, with or without the amino acid or the carboxylic acid. In                                      Example 9
embodiments in which an osmotic adjuster material is uti
lized (other than as part of dilution at the point of administra    45      Examples 1-8 are repeated except that the dissolution is
tion), the osmotic adjuster is nota Saccharide or Sugar alcohol.         carried out at the following concentrations (based on arga
                                                                         troban non-salt form) using the temperatures and form of
                           EXAMPLES                                      argatroban as indicated:
   The invention will now be further described by the follow        50
ing, non-limiting examples.
                                                                                                      Concentration
                           Example 1                                                                   ofargatroban
                                                                               Form                        moiety       Temperature
  (2R,4R)-1-N'-(3-methyl-1,2,3,4-tetrahydro-8-quinoline             55         Non-salt
                                                                               Non-salt
                                                                                                            5 mg/ml
                                                                                                            5 mg/ml
                                                                                                                           15° C.
                                                                                                                           20° C.
Sulfonyl)-L-arginyl-4-methyl-2-piperidinecarboxylic acid                       Non-salt                     5 mg/ml        30° C.
(argatroban) was dissolved (to a concentration of 5 mg/ml) in                  Non-salt                     5 mg/ml        35o C.
an aqueous system containing 50 mg/ml arginine with pH of                      Non-salt                   7.5 mg/ml        15° C.
the final solution adjusted to 9.0 with acetic acid. The disso                 Non-salt                   7.5 mg/ml        20° C.
                                                                               Non-salt                   7.5 mg/ml        30° C.
lution of argatroban was carried out at 25°C.                       60
                                                                               Non-salt                   7.5 mg/ml        35o C.
                                                                               Sodium Salt                  5 mg/ml        15° C.
                          Example 2                                            Sodium Salt                  5 mg/ml        20° C.
                                                                               Sodium Salt                  5 mg/ml        25o C.
                                                                               Sodium Salt                  5 mg/ml        30° C.
  Argatroban is dissolved (to a concentration of 5 mg/ml) in                   Sodium Salt                  5 mg/ml        35o C.
an aqueous system containing 50 mg/ml arginine with pH              65         Sodium Salt                7.5 mg/ml        15° C.
adjusted to 9.0 with acetic acid. The dissolution of argatroban                Sodium Salt                7.5 mg/ml        20° C.
is carried out at 50° C.
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                                                    US 7,589,106 B2
                               9                                                                  10
                                                                     sufficient to achieve a concentration of about 1 mg/ml. The
                           -continued                                Solution was packaged in appropriate containers as a ready-to
                              Concentration
                                                                     use injectable and the completed packages were terminally
                               ofargatroban                          heat sterilized.
      Form                         moiety     Temperature       5
      Sodium Salt               7.5 mg/ml        25o C.
                                                                                           Examples 15-16
      Sodium Salt               7.5 mg/ml        30° C.
      Sodium Salt               7.5 mg/ml        35o C.                Examples 12-13 are repeated except that in Examples
      Hydrochloride salt          5 mg/ml        15° C.
      Hydrochloride salt          5 mg/ml        20° C.         10   15-16, DL-methionine is added before the lactobionic acid.
      Hydrochloride salt          5 mg/ml        25o C.
      Hydrochloride salt          5 mg/ml        30° C.                                    Examples 17-22
      Hydrochloride salt          5 mg/ml        35o C.
      Hydrochloride salt        7.5 mg/ml        15° C.
      Hydrochloride salt        7.5 mg/ml        20° C.                Examples 11-13 are repeated except that in Examples
      Hydrochloride salt        7.5 mg/ml        25o C.         15
      Hydrochloride salt        7.5 mg/ml        30° C.              17-19, DL-methionine is added after the lactobionic acid, but
      Hydrochloride salt        7.5 mg/ml        35o C.            before the argatroban; and in Examples 20-22. D.L-methion
                                                                   ine is added after the argatroban, in each of Examples 20-22
                                                                   in an amount to result in a concentration of about 2 mg/ml
                           Example 10                           2O D.L-methionine, and in Examples 17-19 in an amount of
                                                                   about 10% greater than in Examples 20-22.
   6 vials of 5 mg/ml argatroban solution of Example 1 are
diluted to 1 mg/ml for a total of 30 ml of 1 mg/ml solution and                             Example 23
used to administer the same to a 50 kg patient at the rate of 6
mg/hour for a procedure expected to be 4.5 hours. Upon 25 11 mg of argatroban was dissolved in 2.6 ml of 0.025N
completion of the procedure, there is a minimal amount of sodium carbonate and the pH was adjusted with the addition
unused drug (less than 5 mg) as compared with over 200 mg of 1.5 ml of 0.025N HC1. Sufficient water for injection was
that would result from the currently marketed argatroban 100 added to bring the final solution volume to 10 ml, which had
mg/ml 2.5 ml vials.                                                a pH of about 9.12.
   Attempts to use partial vials of the currently marketed 100 30
mg/ml 2.5 ml vial to dilute only 30 mg (0.3 ml) yield varia                               Examples 24-25
tions in actual amounts withdrawn for subsequent dilution
and are thus not as reliable as using complete 5 mg/ml vials of
the present invention.                                                 11 mg of argatroban is dissolved in 5.5 ml of 0.025N
                                                                35 Sodium carbonate. In Example 24, 20 mg of D.L-methionine
                          Example 11                               is added and then the pH is adjusted downward with 1.5 ml of
                                                                   0.025N HC1. In Example 25, these two steps are reversed.
   Water is heated to boiling and allowed to cool to about 35° Water for injection is then added in a sufficient quantity to
C. Lactobionic acid is added thereto in an amount to achieve       bring the final volume to 10 ml, which final solution has a pH
a concentration of about 2 mg/ml. Agatroban is then added 40 of about 8.85.
thereto in an amount Sufficient to achieve a concentration of
about 1 mg/ml. The Solution is packaged in appropriate con                                   Example 26
tainers as a ready-to use injectable and the completed pack
ages are terminally heat sterilized.                                  Glycine was dissolved in water in an amount Sufficient to
                          Example 12
                                                                45  achieve a glycine moiety final concentration of 2 mg/ml. The
                                                                    pH was then adjusted with 1N sodium hydroxide to about 9.2.
                                                                    Sufficient argatroban was added thereto to result in a final
  Example 11 is repeated except that the solution pH is argatroban moiety concentration of about 1 mg/ml. The final
adjusted to about 8.7 after addition of the lactobionic acid, but pH was adjusted, if needed, to about 9.2 with 1N sodium
before the addition of the argatroban.                           50 hydroxide.
                          Example 13                                                      Examples 27-31
   Example 11 is repeated except that the amounts of lacto       Example 26 is repeated except that lactobionic acid is
bionic acidandargatroban are increased by an additional 10% 55 added in an amount to result in a final lactobionic acid con
and after the argatroban has been dissolved, optionally addi centration of about 2 mg/ml after the glycine is dissolved but
tional water at pH about 8.7 is added to bring the final con before the pH is adjusted, and the pH is adjusted to 8.5
centration of argatroban to about 1 mg/ml and the final con (Example 27), 8.7 (Example 28), 9.0 (Example 29), 9.5 (Ex
centration of lactobionic acid to about 2 mg/ml.               ample 30), or 10.0 (Example 31).
                                                            60
                        Examples 14
  Water was heated to boiling and allowed to cool to about             The invention claimed is:
35° C. D.L-methionine was added to arrive at a methionine         1. A pharmaceutically acceptable formulation of the com
moiety concentration of about 2 mg/ml. Lactobionic acid was 65 pound of formula I or a pharmaceutically acceptable salt
then added in an amount to achieve a concentration of about    thereof, which is solubilized in an aqueous solution, said
2 mg/ml. Agatroban was then added thereto in an amount formulation comprising
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                            11                                                                         12
  (a) argatroban of formula I or a pharmaceutically accept                maceutically acceptable salt thereof in an amount of at least
     able salt thereof                                                    0.75 mg/ml (based on the argatroban moiety); lactobionie
                                                                          acid or a pharmaceutically acceptable salt thereof in an
                                                                          amount (based on the non-salt form thereof) or a mixture of
                                                                          said lactobionic acid and lactobionic acid salt of at least 1.5
                                                                          times the weight of the argatroban (based on the argatroban
                                                               (I)        moiety) and/or an alkali metal or ammonium salt or mixture
                                         O        OH
            NH                       O                                    of alkali metal or ammonium salts of carbonic acid or mixture



                 H
                     ~        -NN
                                  2s     O
                                                       CH
                                                                     10   of lactobionic acid salts in an amount based on CO of at least
                                                                          1.4 times the weight of the argatroban (based on the arga
                                                                          troban moiety); and methionine or a pharmaceutically accept
                                                                          able salt thereof in an amount (based on the non-salt form of
                                                                          methionine) of at least 1.5 times the weight of the argatroban
                                                                     15
                                             H                            (based on the argatroban moiety).
                                             N
                                                                             9. The formulation of claim 8 wherein said argatroban or
                                                                          pharmaceutically acceptable Salt thereof is present in an
                                                                          amount of about 0.75 mg/ml to about 1.25 mg/mlbased on the
                                                       CH                 argatroban moiety.
                                                                            10. The formulation of claim 8 wherein said lactobionic
                                                                          acid or pharmaceutically acceptable salt thereof is present
                                                                          (based on the non-salt form thereof) in an amount of not more
  (b) methionine, pharmaceutically acceptable salts thereof,         25
                                                                          than 2.5 times the weight of the argatroban (based on the
     and mixtures thereof;                                                argatroban moiety) or said alkali metal or ammonium salt or
  (c) a member selected from the group consisting of one or               mixture of alkali metal or ammonium salts of carbonic acid is
     more non-amino acid pH adjusting organic acids,                      present in an amount based on CO of not more than 5.2 times
     organic bases, inorganic acids or inorganic bases, or                the weight of the argatroban (based on the argatroban moi
     salts thereof and mixtures thereof, and                         30   ety).
  (d) a member selected from the group consisting of lacto                  11. The formulation of claim 8 wherein said methionine or
    bionic acid and pharmaceutically acceptable salts                     pharmaceutically acceptable salt thereof is present (based on
     thereof,
which formulation is substantially free of ethanol and sub                the non-salt form thereof) in an amount of not more than 2.5
stantially free of a Sugar alcohol and has a pH in excess of 8.5.    35
                                                                          times than weight of the argatroban (based on the argatroban
   2. The formulation of claim 1 in which said argatroban is              moiety).
present in a concentration equivalent to an amount (based on                 12. The formulation of claim 8 having a pH in excess of 8.6.
the argatroban moiety) selected from the group consisting of                 13. The formulation of claim 8 having a pH of about 8.7,
about 1 mg/ml, about 1.25 mg/ml, about 2 mg/ml, about 2.5                 about 8.8, about 8.9, about 9.0, about 9.1, or about 9.2.
mg/ml or about 5 mg/ml.                                              40      14. The formulation of claim 8 having (1) a weight ratio of
   3. The formulation of claim 1 wherein said member (e) is at            argatroban or pharmaceutically acceptable salt thereof: lac
least one member selected from the group consisting of (1) a              tobionic acid or pharmaceutically acceptable salt thereof:
carboxylic acid, a hydroxy carboxylic acid, a dicarboxylic                methionine or pharmaceutically acceptable salt thereof (each
acid, with at least one of its acid group pKa(s) greater than 3.0,   45   based on the respective non-salt forms) of about 0.75 to about
a salt thereof, or a mixture of said carboxylic acid and said salt        1.25: about 1.50 to about 2.50: about 1.50 to about 2.50 or (2)
thereofand (2) analkali metal or ammonium carbonate, alkali               a weight ratio of argatroban or pharmaceutically acceptable
metal or ammonium bicarbonate, or mixtures thereof.                       salt thereof: alkali metal or ammonium salt or mixture of
  4. The formulation of claim 1 wherein said member (c)                   alkali metal or ammonium salts of carbonic acid (based on
comprises an acetate anion or a carbonate or bicarbonate             50   CO): methionine orpharmaceutically acceptable salt thereof
anion.                                                                    (each of the argatroban salt and amino acid salt based on the
   5. The formulation of claim 1 wherein said amino acid is               respective non-salt forms) of about 0.75 to about 1.25: about
present in an amount of about 1 mg/ml to about 50 mg/ml.                  1.4 to about 5.2: about 1.50 to about 2.50.
   6. The formulation of claim 1 wherein said member (c)             55     15. The formulation of claim 8 having
comprises at least one of an acetate anion, a carbonate anion               (1) a weight ratio of argatroban or pharmaceutically
or a bicarbonate anion, wherein said carbonate and bicarbon                    acceptable salt thereof: lactobionic acid or pharmaceu
ate anion are present at least in part from an alkali metal or                 tically acceptable salt thereof: methionine or pharma
ammonium carbonate, alkali metal or ammonium bicarbon                          ceutically acceptable salt thereof (each based on the
ate, or carbonic acid, and said acetate ion is present at least in   60        respective non-salt forms) of about 1: about 2: about 2 or
part from an acetic acid salt or acetic acid.                               (2) a weight ratio of argatroban or pharmaceutically
   7. The formulation of claim 1 packaged in a vial selected                   acceptable salt thereof: alkali metal or ammonium salt or
                                                                               mixture of alkali metal or ammonium salts of carbonic
from 5 mg/vial to 500 mg/vial or in an IV infusion bag of a                    acid (based on CO): methionine or pharmaceutically
size selected from 25 ml/bag to about 500 ml/bag.                    65        acceptable salt thereof (each of the argatroban salt and
   8. The argatroban formulation of claim 1 as a ready-to                      methionine salt based on the respective non-salt forms)
administer aqueous solution comprising argatroban or a phar                    of about 1: about 4.1 about 4.2.
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                                                     US 7,589,106 B2
                               13                                                                  14
  16. A reconstitutable formulation of argatroban compris                (a) argatroban of formula I or a pharmaceutically accept
ing                                                                         able salt thereof
  (a) said argatroban or a salt thereofor mixtures thereof, and
  (b)methionine, pharmaceutically acceptable salts thereof,                                                                            (I)
                                                                                                                    O       OH
       and mixtures thereof;                                                                                O
     (c) a member selected from the group consisting of one or
        more non-amino acid pH adjusting organic acids or
        organic base or salts thereof and mixtures thereof, and   10
                                                                            HN        H
                                                                                          ~. N
     (d) a member selected from the group consisting of lacto
       bionic acid;
                                                                                                        11Ss
                                                                                                          an        O
                                                                                                                                 CH3

   which reconstitutable formulation is substantially free of a                                                         H
     mono-, di-, or oligosaccharide and Substantially free of a                                                         N
      Sugar alcohol.                                              15

   17. A method of treating thrombosis comprising adminis
tering to a patient having thrombosis the composition of claim                                                                   CH3
1.
   18. The method of claim 17 where said composition is in a             (b) methionine, pharmaceutically acceptable salts thereon
ready-to-administer form.                                                   and mixtures thereof
   19. The method of claim 17 where said composition is in               (c) a member selected from the group consisting of one or
the form of a concentrate and diluting said concentrate with                more non-amino acid pH adjusting organic acids or
an injectably suitable aqueous diluent to a suitable concen                 organic base or salts thereof and mixtures thereof, and
tration for injection.                                            25     (d) a member selected from the group consisting of lacto
                                                                            bionic acid,
   20. The formulation of claim 1 further comprising an                  which formulation is substantially free of ethanol and sub
osmolality adjuster.                                                       stantially free of a Sugar alcohol and has a pH in excess
   21. The formulation of claim 1, further comprising a pH                  of 8.5.
adjuster.                                                         30      23. The formulation of claim 22, further comprising a pH
   22. A pharmaceutically acceptable argatroban formulation,           adjuster other than those materials selected from said member
which is solubilized in aqueous solution, said formulation             (b), sald member (c) and said member (d) of said claim 22.
comprising                                                                                      k   k   k   k   k
       Case 2:19-cv-09031-CCC-MF Document 1 Filed 03/27/19 Page 22 of 32 PageID: 22

                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                  : 7,589,106 B2                                                                                       Page 1 of 1
APPLICATIONNO.              : 11/904067
DATED                       : September 15, 2009
INVENTOR(S)                 : Nageswara R. Palepu.
It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:

         Column 12, line 2 in claim 8,
         “lactobionie should read --lactobionic

         Column 13, line 10 in claim 16,
         delete “a member selected from the group consisting of
         Column 14, line 25 in claim 22,
         delete “a member selected from the group consisting of




                                                                                  Signed and Sealed this
                                                                            Twenty-fourth Day of January, 2012


                                                                                                    David J. Kappos
                                                                               Director of the United States Patent and Trademark Office
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                 EXHIBIT B
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                                                                                                     USOO7687516B2


(12) United States Patent                                                            (10) Patent No.:     US 7.687,516 B2
     Palepu                                                                          (45) Date of Patent:    *Mar. 30, 2010
(54) ALCOHOL FREE FORMULATION OF                                                      5,605,892 A * 2/1997 Ikejiri et al. .................. 514,58
        ARGATROBAN                                                                    5,679,690 A      10, 1997 Andre et al.
                                                                                      6,232,315 B1      5, 2001 Shafer et al.
(75) Inventor: Nageswara R. Palepu. Southampton, PA                                   6,495,534 B2     12/2002 Colombo et al.
                       (US)                                                     2004/0242585 A1        12/2004 Rawson et al.
                                                                                2007/00496.17 A1        3, 2007 Owoo
(73) Assignee: Eagle Pharmaceuticals, Inc., Woodcliff
               Lake, NJ (US)
(*) Notice:            Subject to any disclaimer, the term of this                           FOREIGN PATENT DOCUMENTS
                       patent is extended or adjusted under 35                 EP                 O608828          1, 1994
                       U.S.C. 154(b) by 0 days.                                EP                 O608831          3, 1994
                                                                               EP                 O621.036         4f1994
                       This patent is Subject to a terminal dis-               WO            2004-026,252          4/2004
                       claimer.

(21) Appl. No.: 11/973,485
                                                                                                  OTHER PUBLICATIONS
(22) Filed:            Oct. 9, 2007                                            Sol
                                                                                Olomon, Ira Seth
                                                                                            Se Aqueous Flumor
                                                                                                       H      D         R.
                                                                                                              Luynamics Revise d 2002 , pp.
                                      O  O                                     1-17.*
 65                        Prior Publication Data
(65)                                                                           Abstract of JP 56015267AFeb. 14, 1981 (equivalent to JP 1382377C
        US 2008/O3OO272 A1                Dec. 4, 2008                         Jun. 9, 1987).
                                                                               International Search Report and Written Opinion of the International
            Related U.S. Application Data                                      Searching Authority from related PCT/US2007/20725 (11 pg).
(63) Continuation-in-part of application No. PCT/US2007/                       International Search Report and Written Opinion of the International
     020725, filed on Sep. 26, 2007, which is a continua-                      Searching Authority from related PCT/US2007/21533(9 pg).
     tion-in-part of application No. 1 1/904,067, filed on                     * cited by examiner
     Sep. 26, 2007.
                                                                               Pri        Examiner David J Blanchard
(60) Provisional application No. 60/850,725, filed on Oct.                      rimary Examiner-Lavi               ancinar
     11, 2006         isional    lication No. 60/847.556                       Assistant Examiner Kortney L. Klinkel
     filed on SEO application No.                    sa-Ya- sis                (74) Attorney, Agent, or Firm Lucas & Mercanti, LLP
                                                                               57                        ABSTRACT
(51) Int. Cl.                                                                  (57)
        A 6LX 3L/24709             (2006.01)
     A6 IK 3/445                 (2006.01)                                     An aqueous formulation of argatroban and of related com
     A6IP 7/02                   (2006.01)                                     pounds is disclosed along with a reconstitutable formulation,
(52) U.S. Cl. ...................................................... 514/314   each of which is substantially, if not totally alcohol free. The
(58) Field of Classification Search .................. 514/314                 formulations are also substantially free, if not totally free, of
        See application file for complete search history.                      mono-, di-, and oligo-Saccharides. An especially preferred
(56)                  Ref
                        eerees
                                    Cited
                                       e
                                                                               embodiment is a ready-to-administer 1 mg/ml injectable dos
                                                                               age form having argatroban, lactobionic acid, and methion
                 U.S. PATENT DOCUMENTS                                         ine.
       5,214,052 A     5, 1993 Ofuchi
       5,506,241 A     4, 1996. Mano et al.                                                        22 Claims, No Drawings
Case 2:19-cv-09031-CCC-MF Document 1 Filed 03/27/19 Page 25 of 32 PageID: 25


                                                       US 7,687,516 B2
                               1.                                                                        2
         ALCOHOL FREE FORMULATION OF                                                    OBJECT OF THE INVENTION
                ARGATROBAN
                                                                           An object of the invention is to provide a method for
            CROSS-REFERENCE TO RELATED                                   improving the Solubility of argatroban in a completely aque
                   APPLICATIONS                                          ous system, in particular avoiding the use of organic solvents
                                                                         Such as monoalcohols of 1-4 carbon atoms, especially etha
   This application is a continuation-in-part of a U.S. appli            nol, and still obtain solutions of sufficient concentration for
cation Ser. No. 1 1/904,067, filed Sep. 26, 2007, which claims           use in parenteral administration.
priority of U.S. Provisional Application Ser. No. 60,850,725,               A further object of the invention is to provide anargatroban
filed Oct. 11, 2006 and U.S. Provisional Application Ser. No.       10   formulation that is substantially free of saccharides, inclusive
60/847,556, filed Sep. 27, 2006. This Application also claims            of mono-saccharides, di-saccharides, oligosaccharides, and
priority directly from U.S. Provisional Application Ser. No.             their corresponding Sugar alcohols.
60/850,725, filed Oct. 11, 2006. Reference is also made to                  Another object of the invention is to provide a dosage form
co-owned PCT/US07/20725, filed Sep. 26, 2007 having the                  of argatroban that is not as concentrated so that further dilu
same title and inventorship as the instant application and          15   tion for use does not result in substantial waste of material in
claiming priority from the same two provisional applications             most typical administration settings.
above and to co-owned PCT application filed concurrently                    A further object of the invention is to provide a dosage form
herewith having the same inventorship and title as the present           of argatroban not requiring an extensively large dilution, yet
application and is a Continuation-in-part PCT/US2007/                    be concentrated sufficiently to be convenient for preparing for
020725, filed Sep. 26, 2007. Each of these applications as               use and less Subject to dissolution errors than with current
well as each patent and patent application mentioned in the              marketed argatroban.
rest of this specification is incorporated herein by reference in           Still a further object of the invention is to provide 1 mg/ml
their entireties.                                                        ready-to-administer solutions of argatroban in 5 ml to 500 ml
       STATEMENT REGARDING FEDERALLY                                25
                                                                         vials and 25 ml to 500 ml infusion bags.
     SPONSORED RESEARCH ORDEVELOPMENT                                       Yet another object of the invention is to provide an arga
                                                                         troban ready-to-administer formulation having a storage sta
  Not Applicable                                                         bility of at least about 18 months.
                                                                            Still another object of the invention is to provide an arga
                FIELD OF THE INVENTION
                                                                    30
                                                                         troban ready-to-administer formulation having a substantial
                                                                         stability with respect to pH in a terminal sterilization opera
   The present invention relates to argatroban and to the solu           tion.
bilization thereof to yield injectable and other aqueous solu               An even further object of the invention is to provide an
tions of desired concentration in aqueous media without the              argatroban ready-to-administer formulation having a Sub
need for alcohols or other solvents and without the use of
                                                                    35
                                                                         stantial stability with respect to degradation product in a
saccharides.                                                             terminal sterilization operation.
          BACKGROUND OF THE INVENTION                                       An even further object of the invention is to provide an
                                                                         argatroban ready-to-administer formulation having a Sub
   Argininesulfonamides are known to have anti-thrombotic                stantial stability with respect to degradation product in the
activities (see e.g., Japanese Patent No. 1382377). However,        40
                                                                         presence of an antioxidizing agent Such as methionine in an
it is very difficult to obtain a solution containing any of the          aseptic operation or in a terminal sterilization operation.
argininesulfonamides at high concentrations due to their gen                Still another object of the invention is the use of lactobionic
eral poor solubility in water. Therefore these compounds are             acid as a solubilizer and/or stabilizer to enhance the aqueous
generally not suitable for use in injection formulations con             solubility as well as stability of argatroban.
taining them at high concentrations. U.S. Pat. No. 5,214,052        45      Yet another object of the invention is to provide an arga
attempts to solve this problem by dissolving these com                   troban ready-to-administer aqueous solution for injection
pounds in a dissolution media containing water, ethanol, and             having carbonate and/or bicarbonate ion present.
a saccharide (inclusive of monosaccharides, disaccharides,                  Yet further objects of the invention will be apparent to
oligosaccharides and their reduced Sugar alcohol counter                 those of ordinary skill in the art.
parts). Argatroban, currently marketed by Encysive in the           50
U.S., is sold as a 2.5 ml vial of 100 mg/ml argatroban con                            SUMMARY OF THE INVENTION
centrate having 750 mg D-sorbitol, and 1000 mg dehydrated
alcohol per ml, which concentrate is Subsequently diluted to                The invention provides a method for dissolving argatroban
1 mg/ml argatroban for actual use. While that formulation                comprising dissolving argatroban or a pharmaceutically
allows for advantages in packaging and dissolution to final         55   acceptable salt thereof in an aqueous, preferably buffered,
concentration, it suffers from the drawback of having ethanol            system that is substantially free of lower alcohols and is
present in a not insignificant amount, especially when the               Substantially free of Saccharides (e.g., mono-, di-, and oligo
patient in question is of Smaller body weight. Current admin             saccharides and their corresponding Sugar alcohols). Further,
istration rates include 6 ml/hr (of the 1 mg/ml diluted solu             the invention provides pharmaceutical compositions contain
tion) for a 50 kg patient to 17 ml/hr (of the 1 mg/ml diluted       60   ing argatroban.
solution) for a 140 kg patient each for the duration of the
procedure for which argatroban administration is desired.                    DETAILED DESCRIPTION OF THE INVENTION
Thus, each vial supplied provides 250 ml of administrable
diluted Solution, resulting in Substantial waste of material in            In certain embodiments, the invention provides a method
all but the most prolonged procedures (250 ml being suffi           65   for dissolving argatroban comprising dissolving an N-aryl
cient for over 40 hours for a 50 kg patient and over 14 hours            Sulfonyl-L-arginine having general formula (I) or a pharma
for a 140 kg patient).                                                   ceutically acceptable salt thereof
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                                                                                                         4
                                                                         either the acid itself, or a salt thereof, or mixtures thereof if an
                                                                         appropriate pH can be reached using Such salt or mixture of
                                                              (I)        salt and acid. More highly preferred amino acids are arginine,
                                         O       OH                      glycine, and methionine. In this first embodiment, arginine
                                    O                                    and glycine are even more highly preferred, while in a second
                                                                         embodiment discussed more specifically below, methionine
                                                                         is an even more highly preferred amino acid. The amino acid,
     HN             ~.                                                   when having buffering capacity in the desired region, can be
                                                                         self-buffering so that a separate buffer is not required; in this
                H             1Ss
                                2
                                                      CH3           10   case pH adjustment can be accomplished with inorganic acids
                                o?so         H
                                             N                           and bases (e.g., HCl or NaOH, among others). In addition to
                                                                         the monocarboxylic amino acids such as arginine, glycine,
                                                                         and methionine, among others, the amino acid may be a
                                                                         dicarboxylic amino acid selected from formulas II and III
                                                      CH3           15

                                                                                                                                          (II)
The compound exists as optical isomers and for purposes of
this application, reference to “argatroban’ (unless indicated
or the context requires otherwise) refers to the individual
isomers as well as the various mixtures of isomers in various
proportions. Currently marketed argatroban has the chemical
                                                                                               r        NH2      OH


name set forth in its labeling as (2R,4R)-1-N'-(3-methyl-1,              where A and B are each independently selected from (a) a
2,3,4-tetrahydro-8-quinoline-Sulfonyl)-L-arginyl-4-methyl                branched or unbranched alkyl of 0-6 carbons, provided that
2-piperidinecarboxylic acid. Further, unless indicated other        25   the sum of the carbon atoms in A and B do not exceed 6; (b)
wise or the context requires otherwise, reference to                     a branched or unbranched heteroalkyl having up to 2 heteroa
“argatroban' includes reference to the various pharmaceuti               toms selected from N and O, provided that the sum of the
cally acceptable salts thereof, whether salts thereof with acids         carbon and heteroatoms in A and B do not exceed 6; (c) 5-6
or bases.                                                                membered cycloalkyl, 5-6 membered heteroalkyl having up
   The invention can use the pharmaceutically acceptable            30   to 2 heteroatoms selected form N, O, and S.; (d) 6 membered
salts of argatroban. The salts may be acid addition salts (there         aryl or heteroaryl having up to 2 hetero atoms selected from
being a free carboxy group present) prepared by reacting the             N, O, and S: preferably dicarboxylic amino acids of formula
argatroban or a different salt thereof (inclusive of (a) pharma          II are those where A and B are both limited to alkyls of 0-6
ceutically acceptable salts other than the salt being made and           carbons, more preferably those where the amino group is in
(b) pharmaceutically unacceptable salts) with any pharma            35   an alpha or beta position to at least one of the carboxylic
ceutically acceptable inorganic or organic acid Such as, with            groups, and even more preferably where the two carboxylic
out limitation, hydrochloric acid, hydrobromic acid,                     acid groups are separated by at least 2 carbon atoms.
hydroiodic acid, Sulfuric acid, nitric acid, phosphoric acid,
carbonic acid, acetic acid, citric acid, maleic acid, Succinic
acid, lactic acid, tartaric acid, gluconic acid, glucuronic acid,   40                                                                   (III)
ethers of glucuronic acid orgluconic acid (such as lactobionic
acid), benzoic acid, methanesulfonic acid, ethanesulfonic
acid, benzenesulfonic acid and p-toluenesulfonic acid. Fur
ther, the salts may be inorganic or organic salts prepared by
reacting the argininesulfonamide of general formula (I) with        45
any pharmaceutically acceptable organic or inorganic bases
Such as Sodium hydroxide, potassium hydroxide, ammonium
hydroxide, sodium bicarbonate, sodium carbonate, potas
sium bicarbonate, potassium carbonate, ammonium bicar                    where ring C is a six-membered aromatic or heteroaromatic
bonate, ammonium carbonate, triethylamine, procaine,                50   ring or partially or fully saturated analog thereof, having up to
dibenzylamine, N,N'-dibenzylethylenediamine and N-eth                    2 heteroatoms selected from N, O, and S and on which the
ylpiperidine.                                                            amino and the carboxylic acid groups can be present at any
   In one method for dissolving argatroban according to the              available position of such ring C, and each n is independently
invention, the argatroban and/or its salt is dissolved in an             an interger of 0-3, preferably each n is zero. Exemplary dicar
amino acid aqueous Solution. The amino acid used in the             55   boxylic amino acid of formula II are, without limitation,
invention is preferably selected from arginine, glycine,                 glutamic acid and aspartic acid. An exemplary amino acid
methionine, or otheramino acids with at least one basic group            with formula III is amino phthalic acid. In all of the amino
pKa >9.0 or mixtures thereof. The amino acid can be used as              acids for the present invention, the pKa of the basic function
the acid or a salt thereof or mixtures thereof. While either D           (or of at least one basic function if more than one is present)
or L- or D.L-amino acids can be used, L-amino acids are             60   should be greater than about 9.
generally preferred in this first embodiment. In another                    In the present invention, reference to a given weight of a
embodiment, discussed below, D.L-amino acids are generally               compound that can exist as a salt or in free form is with
preferred. The pH of the drug and amino acid solution is                 reference to the free form of the compound. Thus, for a
adjusted to about 8.0 to about 10.0 with one or more pharma              compound Such as argatroban having a molecular weight of
ceutically acceptable carboxylic acids such as, without limi        65   526 g, and monosodium argatroban having a molecular
tation, acetic acidor any other carboxylic acid ordicarboxylic           weight of 548 Dalton, and argatroban monohydrochloride
acid or hydroxy carboxylic acid; and may be adjusted with                having a molecular weight of 561 Dalton, an indication of
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                             5                                                                         6
“52.6 mg of argatroban’ will mean 52.6 mg of argatroban                   greater than about pH about 9.5, preferably not greater than
non-salt form, or if the monosodium salt is being discussed,              about 9.2, and more preferably is usually about pH 8.7, about
52.6 mg of argatroban will mean 54.8 mg of monosodium                     8.8, about 8.9, about 9.0, about 9.1, or about 9.2. Certain
argatroban having 52.6 mg of the argatroban moiety present,               advantageous ready to use formulations of the present inven
or if the argatroban monohydrochlodride is being discussed,               tion have a pH of about 8.7, while certain other advantageous
it will mean 56.1 mg of argatroban monohydrochloride hav                  ready-to-use formulations of the present invention have a pH
ing 52.6 mg of the argatroban non-salt moiety present. Cor                of about 9.2.
responding calculations to find the exact weight of the salt                 The temperature on dissolution is not particularly limited.
form under discussion for other salts are known to those of               When the argatroban is dissolved in water, however, it is
ordinary skill in the art. Weights of amino acids will also be       10   preferable to warm the water to about 40°C. to about 80° C.
referenced to the non-salt forms thereof with appropriate                 for accelerating the dissolution rate, about 70° C. being
calculations to find the precise weight of a particular salt              advantageous in a number of situations.
being known to those of ordinary skill in the art.                           The concentration of argatroban in the Solution can be
   The amino acid is generally present in amounts that are                selected within a wide range depending on the intended uses.
about 1.5 to about 2.5, preferably about 2 times the amount of       15   According to the invention, the solution in which the arga
the compound of formula (I) present (based on the non-salt                troban is dissolved may result in concentrations of argatroban
form of argatroban). When present, the carboxylic acid (other             that are several fold higher than the concentrations of arga
than carbonic acid salt) is generally present in amounts that             troban typically obtained with the solubility of argatroban in
are about 1.5 to about 2.5, preferably about 2 times the                  water alone. Most advantageously for one embodiment of the
amount of argatroban present (based on the argatroban moi                 concentrates of the present invention, the argatroban can be
ety), while (when present) the carbonic acid salt is generally            dissolved up to about 7.5 mg/ml, preferably about 6 mg/ml,
present in an amount of about 1.4 to about 5.2 (based on CO               most preferably about 5 mg/ml. An additional embodiment
content) times the amount of argatroban present (based on the             within the invention is a ready-to-administer solution of about
argatroban moiety), preferably about 1.5 to about 2.5 times,              0.8 to about 1.25 mg/ml, preferably about 0.9 to about 1.1
more preferably about 1.9 to about 2.0 times when the amino          25   mg/ml, more preferably about 1 mg/ml argatroban. All
acid is absent and preferably about 3.0 to about 5.2 times,               amounts presented are amounts of argatroban free compound
more preferably about 4.1 to about 4.2 times when the amino               that is the non-salt. Corresponding amounts of various salts
acid is present. Those of ordinary skill in the art will be able          will be readily known to those of ordinary skill in the art by
to adjust these amounts for the situation where both a car                routine calculation.
boxylic acid (other than carbonic acid salt) is present in com       30      In a second embodiment of the invention, the argatroban, or
bination with a carbonic acid salt.                                       a pharmaceutically acceptable salt thereof, is dissolved in an
   Water as used in the present invention (unless indicated               aqueous Solution of a gluconic or glucuronic acid (or a Sugar
otherwise or the context requires otherwise) includes aqueous             ether of either, where the sugar position 1 is etherified with
injectable fluids including, but not limited to, distilled water,         one of the hydroxyl groups of the gluconic or glucuronic acid,
purified water, water for injection, a physiological Saline,         35   preferably the ether is lactobionic acidora salt thereof) and/or
Ringer's Solution, Lactated Ringer's Solution and 5% dex                  with an alkali metal (e.g., Sodium or potassium) or ammo
trose solution, and any of these may be used for diluting                 nium salt, preferably a sodium salt, of carbonic acid (e.g.,
concentrates. Preferably in preparing the ready-to-administer             Sodium carbonate, Sodium bicarbonate, and mixtures thereof)
formulations, distilled water, purified water or water for                and optionally an amino acid or salt thereof. In each case, the
injection is used with a post formulation sterilization proce        40   salts, if present are pharmaceutically acceptable salts, and in
dure, or preferably water for injection is used if post-formu             the case of use of the Solution as an injectable, the salt is
lation sterilization is not being used.                                   compatible with its use in an injectable formulation. Prefer
   The manner of how to dissolve the argatroban in water and              ably, the formulation comprises argatroban or a pharmaceu
optionally in an amino acid aqueous solution is not particu               tically acceptable salt thereof a gluconic acid or glucuronic
larly limited. Generally, the amino acid (or its salt or a mixture   45   acid, or an ether of either or a pharmaceutically acceptable
of the amino acid and its salt), when present, is dissolved in            salt thereof (preferably lactobionic acidora pharmaceutically
water and then the pH is adjusted upward, if need be, to about            acceptable salt thereof) and/or an alkali metal or ammonium
pH 8.7 to about 10 with the addition of inorganic or organic              salt of carbonic acid, preferably a sodium salt of carbonic acid
base (or salts of carboxylic acid or mixtures of its salts and            or mixture of Sodium salts of carbonic acid; optionally an
their conjugate acids or conjugate bases (inclusive of alkali        50   amino acid, preferably an anti-oxidantamino acid (more pref
metal salt(s) and ammonium salts of carbonic acid)) thereto               erably methionine), arginine, or glycine, either in the D-, L-,
followed by mixing. These two steps can be reversed if                    or D.L-form, preferably as the D.L-form, the amino acid
desired. Next, the argatroban is slowly added while stirring              optionally in the form of a pharmaceutically acceptable salt
until complete dissolution. If desired, but not required, the pH          thereof; and water (which water may further contain an
can then be adjusted downward using any suitable inorganic           55   optional inert osmolarity adjuster (other thana saccharide) so
or organic acid or buffer thereof. Where concentrates are to be           as to bring the Solution to an appropriate osmolarity if
made for subsequent dilution, higher pH can be tolerated for              desired); and wherein the formulation is substantially free of
the dissolution and storage phase as the Subsequent dilution              ethanol, preferably being substantially free of at least one of
will bring the pH closer to physiologic pH before injection.              if not both of (a) monohydric alcohols having 1 to 4 carbons;
Concentrates having the amino acid in the range of 50 mg/ml          60   and (b) mono-, di-, and oligosaccharides and their corre
(especially when using arginine as the amino acid) will have              sponding Sugar alcohols. For the present invention, 'substan
a pH as high as about 11 to about 11.5 before addition of the             tial free” when referring to a lower alcohol means less than
argatroban. In these concentrates, the argatroban is dissolved            about 5% V/V, preferably less than about 2.5%, more prefer
and the pH is adjusted downward into the range of about 8.7               ably less than about 1%, more preferably less than about 0.5%
to 9.5 as discussed above using an appropriate acid or buffer.       65   V/vi, while when referring to “saccharide' means less than
Where a ready-to-administer injection formulation is desired,             about 10% w/v., preferably less than about 7.5%, more pref
the ready-to-administer product pH should generally not be                erably less than about 5%, still more preferably less than
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about 2.5%, even more preferably less than about 1%, yet                mixture of alkali metal salts of carbonic acid; and the amino
more preferably less than about 0.05% w/v. Formulations                 acid in the first embodiment is an anti-oxidantamino acid.
having the required components and either or both lower                    The pharmaceutical compositions of the invention are use
alcohols and saccharides (inclusive of mono-, di- and oligo             ful for treating thrombosis and for treating and/or prophylaxis
saccharides and their corresponding Sugar alcohols) are                 of any other condition for which the active agents are already
within the present invention, should one so desire, but the             known to be useful. Accordingly, the pharmaceutical compo
emphasis of the invention is primarily on the avoidance of the          sitions can be used as anti-thrombotic agents.
lower alcohol or saccharide and particularly the avoidance of              The pharmaceutical composition of the invention may con
both. Inclusion of methionine or another anti-oxidant amino             tain antiseptic, anti-oxidant, soothing agents and the like. If
acid improves the product stability especially with respect to     10   necessary, any pharmaceutical ingredient(s) other than the
terminal sterilization, and is therefore one particularly pre           argatroban may be added to form a combined preparation,
ferred embodiment.                                                      provided such other ingredient is not unacceptable for the
                                                                        indication and route of administration; however, the invention
   In this embodiment, it is preferable to first heat the water,        compositions and processes are generally Substantially free
preferably to boiling, then allow the water to cool to a tem       15   of, if not totally free of (1) ethyl alcohol, more preferably any
perature of about 30-50° C., preferably about 35° C. The                lower alcohol of 1-4 carbon atoms or (2) a saccharide, pref
carboxylic acid (preferably lactobionic acid or pharmaceuti             erably a monosaccharide or disaccharide or oligo-saccharide,
cally acceptable salt thereofand/or alkali metal or ammonium            more preferably any saccharide (wherein Saccharide herein
salt of carbonic acid) is added and dissolved. Then, any                optionally includes the reduced Sugar alcohol counterparts
optional amino acid is added and dissolved. Then the arga               thereto), or (3) both (1) and (2). While formulations within the
troban (or a pharmaceutically acceptable salt thereof) is               invention may contain either or both of the alcohols or sac
added and dissolved. In this procedure, the amino acid and              charides (in more than insignificant amounts, they are pref
carboxylic acid addition steps can be reversed, if desired, or          erably substantially free, more preferably totally free of one
the amino acid can be added after the argatroban. The pH is             or both of these materials as stated earlier.
adjusted as convenient at any point prior to the addition of the   25      The primary composition of the invention in the first
compound of formula (I) or pharmaceutically acceptable salt             embodiment is a pharmaceutical injectable and is adminis
thereof to a pH in excess of about 8.5, preferably in excess of         tered as an injection. This injectable composition may further
about 8.6, more preferably to about pH 8.7 to about 9.5, more           contain stabilizer, buffer, preservative and the like that are
particularly about pH 8.7 to about 9.2, still more preferably           acceptable for injection. If desired, the injectable composi
about 8.7, about 8.8, about 8.9, about 9.0, about 9.1 or about     30   tion according to the invention is prepared to contain arga
9.2, so as to aid in the dissolution of the compound of formula         troban at a high concentration, which is used by diluting with
(I).                                                                    water, electrolyte (e.g., normal saline, among others), carbo
   Higher pHs are acceptable for the dissolution phase for              hydrate solution (e.g., 5% Dextrose), Ringer's solution or the
concentrate formulations that will be further diluted before            like at or close to the time of administration (such as by
actual injection, provided the dilution brings down the pH to      35   infusion and/or dialysis). The concentrated formulation may
a range such that upon dilution to the final use concentration          contain amounts of up to about 7.5 mg argatroban moiety,
the pH is physiologically acceptable for injection purposes,            preferably up to about 5 mg per ml. This is generally diluted
typically less than about 9.5, generally less than about 9.2.           for administration to about 1 mg argatroban moiety per ml.
preferably less than about 9.0, more preferably less than               Dilution of the concentrate to other concentrations for use as
about 8.8, still more preferably about 8.7; diluted pH of about    40   an injection will be within the ordinary skill in the art. The
8.6, about 8.7, about 8.8, about 8.9, about 9.0, about 9.1, and         formulation, as detailed further below, can also be prepared as
about 9.2 are all acceptable if so desired. If need be, final           a lyophilizate or as a sterile dry fill product that can be recon
adjustment of pH can be made with an acid or base or buffer             stituted with appropriate diluent to either the concentrate
as appropriate Such as among others hydrochloric acid,                  concentrations of this embodiment or to the ready-to-use
sodium hydroxide, or a buffer solution of either or both the       45   concentrations in the second embodiment.
carboxylic acid/carboxylic acid salt (inclusive of blends of               The primary composition of the invention second embodi
alkali metal or ammonium salts of carbonic acid) and/or the             ment is also as a pharmaceutically acceptable injection for
amino acid/amino acid salt. Thus, a concentrate formulation             mulation, primarily as a ready-to-administer composition. In
may be prepared within the instant invention which has a                this embodiment, the argatroban moiety is present in a con
substantially high pH, while the ready-to-administer formu         50   centration of no more than about 1.25 mg/ml, preferably
lations will have a generally weakly alkaline pH, generally             about 1.1 mg/ml, more preferably about 1 mg/ml, in a pH of
greater than about 8.6 and generally less than about 9.2.               about 8.5 to about 9.2, preferably about 8.6 to about 8.9, more
   The solution thus obtained containing the argatroban,                preferably about pH 8.7 to about 8.9 in a water solution
amino acid, water and carboxylic acid constitutes a first               containing (a) as a carboxylic acid, at least one member
embodiment of the pharmaceutical composition of the inven          55   selected from (1) gluconic acid, glucuronic acid, and Sugar
tion, while the Solution containing (a) the argatroban; (b)             ethers thereof, especially lactobionic acid and pharmaceuti
water; (c) (1) gluconic acid, glucuronic acid, and/or ether             cally acceptable salts thereofand/or (2) alkali metal or ammo
thereof, and/or (c) (2) an alkali metal or ammonium salt or             nium salt or mixture of alkali metal or ammonium salts of
mixtures of alkali metal or ammonium salts of carbonic acid;            carbonic acid, and optionally (b) at least one (preferably
and (d) optional (preferably anti-oxidant) amino acid consti       60   anti-oxidant) amino acid or pharmaceutically acceptable salt
tutes a second embodiment, and the solution containing the              thereof. If the free argatroban concentration is greater than
argatroban, amino acid, and water with or without the car               about 1.0 mg/ml, the concentrate can be diluted with suffi
boxylic acids constitutes a third embodiment of the invention.          cient water of a suitable pH, with or without the amino acid or
As will be readily recognized, embodiments one and two                  the carboxylic acid. In embodiments in which an osmotic
overlap when the carboxylic acid in the first embodiment is        65   adjuster material is utilized (other than as part of dilution at
selected from gluconic acid, glucuronic acid, the ether of              the point of administration), the osmotic adjuster is any
either (especially lactobionic acid) and alkali metal salt or           injectably suitable osmotic adjuster but preferably is not a
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saccharide or Sugar alcohol, especially when an alcohol of 1-4
carbon atoms is present in the formulation.
                           EXAMPLES                                                          Concentration of argatroban
                                                                       Form                            moiety              Temperature
   The invention will now be further described by the follow         Non-salt                           5   mg/m             15° C.
ing, non-limiting examples.                                          Non-salt                           5   mg/m             20° C.
                                                                     Non-salt                           5   mg/m             30° C.
                         Example 1                                   Non-salt                           5   mg/m             35o C.
                                                                     Non-salt                         7.5   mg/m             15° C.
  (2R,4R)— 1-N'-(3-methyl-1,2,3,4-tetrahydro-8-quino              10 Non-salt                         7.5   mg/m             20° C.
linesulfonyl)-L-arginyl-4-methyl-2-piperidinecarboxylic              Non-salt
                                                                     Non-salt
                                                                                                      7.5
                                                                                                      7.5
                                                                                                            mg/m
                                                                                                            mg/m
                                                                                                                             30° C.
                                                                                                                             35o C.
acid (argatroban) was dissolved (to a concentration of 5             Sodium Salt                        5   mg/m             15° C.
mg/ml) in an aqueous system containing 50 mg/ml arginine             Sodium Salt                        5   mg/m             20° C.
with pH of the final solution adjusted to 9.2 with acetic acid.      Sodium Salt                        5   mg/m             25o C.
The dissolution of argatroban was carried out at 25°C.            15 Sodium Salt                        5   mg/m             30° C.
                                                                     Sodium Salt                        5   mg/m             35o C.
                          Example 2                                  Sodium Salt                      7.5   mg/m             15° C.
                                                                     Sodium Salt                      7.5   mg/m             20° C.
                                                                     Sodium Salt                      7.5   mg/m             25o C.
  Argatroban is dissolved (to a concentration of 5 mg/ml) in         Sodium Salt                      7.5   mg/m             30° C.
an aqueous system containing 50 mg/ml arginine with pH               Sodium Salt                      7.5   mg/m             35o C.
adjusted to 9.0 with acetic acid. The dissolution of argatroban      Hydrochloride salt                 5   mg/m             15° C.
is carried out at 50° C.                                             Hydrochloride salt                 5   mg/m             20° C.
                                                                     Hydrochloride salt                 5   mg/m             25o C.
                           Example 3                                 Hydrochloride salt
                                                                     Hydrochloride salt
                                                                                                        5
                                                                                                        5
                                                                                                            mg/m
                                                                                                            mg/m
                                                                                                                             30° C.
                                                                                                                             35o C.
                                                                     Hydrochloride salt               7.5   mg/m             15° C.
  Argatroban is dissolved (to a concentration of 5 mg/ml) in      25 Hydrochloride salt               7.5   mg/m             20° C.
an aqueous system containing 50 mg/ml arginine with pH               Hydrochloride salt               7.5   mg/m             25o C.
adjusted to 9.0 with tartaric acid. The dissolution of arga          Hydrochloride salt               7.5   mg/m             30° C.
troban is carried out at 25°C.                                       Hydrochloride salt               7.5   mg/m             35o C.

                           Example 4                              30
                                                                                                 Example 10
  Argatroban is dissolved (to a concentration of 5 mg/ml) in
an aqueous system containing 50 mg/ml arginine with pH                    6 vials of 5 mg/ml argatroban solution of Example 1 are
adjusted to 9.0 with citric acid. The dissolution of argatroban        diluted to 1 mg/ml for a total of 30 ml of 1 mg/ml solution and
is carried out at 25°C.
                                                                  35   used to administer the same to a 50 kg patient at the rate of 6
                           Example 5                                   mg/hour for a procedure expected to be 4.5 hours. Upon
                                                                       completion of the procedure, there is a minimal amount of
  Argatroban is dissolved (to a concentration of 5 mg/ml) in           unused drug (less than 5 mg) as compared with over 200 mg
an aqueous system containing 50 mg/ml arginine with pH                 that would result from the currently marketed argatroban 100
adjusted to 9.0 with adipic acid. The dissolution of argatroban   40   mg/ml 2.5 ml vials.
is carried out at 25°C.                                                   Attempts to use partial vials of the currently marketed 100
                           Example 6                                   mg/ml 2.5 ml vial to dilute only 30 mg (0.3 ml) yield varia
                                                                       tions in actual amounts withdrawn for Subsequent dilution
  Argatroban is dissolved (to a concentration of 5 mg/ml) in           and are thus not as reliable as using complete 5 mg/ml vials of
an aqueous system containing 50 mg/ml lysine with pH              45   the present invention.
adjusted to 9.0 with acetic acid. The dissolution of argatroban                                  Example 11
is carried out at 25°C.
                           Example 7                                     Water is heated to boiling and allowed to cool to about 35°
                                                                  50   C. Lactobionic acid is added thereto in an amount to achieve
  Argatroban is dissolved (to a concentration of 5 mg/ml) in           a concentration of about 2 mg/ml. Agatroban is then added
an aqueous system containing 50 mg/ml arginine with pH                 thereto in an amount Sufficient to achieve a concentration of
adjusted to 10.0 with acetic acid. The dissolution of arga             about 1 mg/ml. The solution is packaged in appropriate con
troban is carried out at 25°C.                                         tainers as a ready-to use injectable and the completed pack
                           Example 8                              55   ages are terminally heat sterilized.
                                                                                                 Example 12
  Argatroban is dissolved (to a concentration of 5 mg/ml) in
an aqueous system containing 50 mg/ml arginine with pH                   Example 11 is repeated except that the solution pH is
adjusted to 8.0 with acetic acid. The dissolution of argatroban   60   adjusted to about 8.7 after addition of the lactobionic acid, but
is carried out at 25°C.
                                                                       before the addition of the argatroban.
                           Example 9
                                                                                                 Example 13
   Examples 1-8 are repeated except that the dissolution is
carried out at the following concentrations (based on arga        65     Example 11 is repeated except that the amounts of lacto
troban non-salt form) using the temperatures and form of               bionic acidandargatroban are increased by an additional 10%
argatroban as indicated:                                               and after the argatroban has been dissolved, optionally addi
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tional water at pH about 8.7 is added to bring the final con          (Example 27), 8.7 (Example 28), 9.0 (Example 29), 9.5 (Ex
centration of argatroban to about 1 mg/ml and the final con           ample 30), or 10.0 (Example 31).
centration of lactobionic acid to about 2 mg/ml.
                                                                                                 Examples 32A-32E
                        Examples 14
                                                                        Ready-to-use formulations of argatroban for injection hav
  Water was heated to boiling and allowed to cool to about            ing the following formulations are prepared having the fol
35° C. D.L-methionine was added to arrive at a methionine             lowing components:
moiety concentration of about 2 mg/ml. Lactobionic acid was
then added in an amount to achieve a concentration of about      10
2 mg/ml. Agatroban was then added thereto in an amount                Formulation     Formula-     Formula-   Formula-    Formula-     Formula
sufficient to achieve a concentration of about 1 mg/ml. The           Component        tion A       tion B     tion C      tion D       tion E
Solution was packaged in appropriate containers as a ready-to         Argatroban      1 mg/ml      1 mg/ml    1 mg/ml.    1 mg/ml       1 mg/ml
use injectable and the completed packages were terminally             Lactobionic     2 mg/ml      2 mg/ml    2 mg/ml     2 mg/ml
heat sterilized.                                                 15
                                                                      Acid
                                                                      D.L-                         2 mg/ml                2 mg/ml
                      Examples 15-16                                  methionine
                                                                      Glycine         2 mg/ml                 2 mg/ml     2 mg/ml      2 mg/ml
                                                                      pH                9.2          8.7        8.7           8.7           9.5
  Examples 12-13 are repeated except that in Examples
15-16, DL-methionine is added before the lactobionic acid.
                      Examples 17-22                                                              Examples 33-35
                                                                         Example 32A, C, D, and E is repeated is repeated except
  Examples 11-13 are repeated except that in Examples            25   that the glycine is replaced by aspartic acid in Example 33, by
17-19, DL-methionine is added after the lactobionic acid, but         glutamic acid in Example 34, and by aminophthalic acid in
before the argatroban; and in Examples 20-22. D.L-methion             Example 35.
ine is added after the argatroban, in each of Examples 20-22               The invention claimed is:
in an amount to result in a concentration of about 2 mg/ml               1. A pharmaceutically acceptable formulation of arga
D.L-methionine, and in Examples 17-19 in an amount of            30   troban of formula I or a pharmaceutically acceptable salt
about 10% greater than in Examples 20-22.                             thereof, which is solubilized in aqueous solution at a concen
                        Example 23                                    tration greater than that of argatroban in water alone, com
                                                                      prising
                                                                         (a) argatroban of formula I or a pharmaceutically accept
   11 mg of argatroban was dissolved in 2.6 ml of 0.025N         35
                                                                             able salt thereof;
sodium carbonate and the pH was adjusted with the addition                 (b) methionine:
of 1.5 ml of 0.025N HC1. Sufficient water for injection was                (c) lactobionic acid, pharmaceutically acceptable salts, and
added to bring the final solution volume to 10 ml, which had                 mixtures thereof, and
a pH of about 9.12.                                                        (d) an optional buffer;
                                                                 40
                                                                           wherein the formulation has a pH in excess of 8.5
                      Examples 24-25
    11 mg of argatroban is dissolved in 5.5 ml of 0.025N                                                                                          (I)
                                                                                                                      O        OH
Sodium carbonate. In Example 24, 20 mg of D.L-methionine         45                                            O
is added and then the pH is adjusted downward with 1.5 ml of
0.025N HC1. In Example 25, these two steps are reversed.
Water for injection is then added in a sufficient quantity to
bring the final volume to 10 ml, which final solution has a pH               HN         H
                                                                                            ~.
of about 8.85.                                                                                         H1)s                          CH3
                                                                 50                                      o22 so           H
                                                                                                                          N
                        Example 26
   Glycine was dissolved in water in an amount Sufficient to                                                                         CH3.
achieve a glycine moiety final concentration of 2 mg/ml. The     55
pH was then adjusted with 1N sodium hydroxide to about 9.2.
Sufficient argatroban was added thereto to result in a final            2. The formulation of claim 1 which is (a) substantially free
argatroban moiety concentration of about 1 mg/ml. The final           of ethanol or (b) Substantially free of a mono-, di-, or oligo
pH was adjusted, if needed, to about 9.2 with 1N sodium               saccharide and Substantially free of a Sugar alcohol.
hydroxide.                                                       60     3. The formulation of claim 1 in which said argatroban is
                                                                      present in a concentration equivalent to an amount (based on
                      Examples 27-31                                  the argatroban moiety) selected from the group consisting of
                                                                      about 1 mg/ml, about 1.25 mg/ml, about 2 mg/ml, about 2.5
  Example 26 is repeated except that lactobionic acid is              mg/ml or about 5 mg/ml.
added in an amount to result in a final lactobionic acid con     65        4. The formulation of claim 1 wherein said buffer is at least
centration of about 2 mg/ml after the glycine is dissolved but        one member selected from the group consisting of at least one
before the pH is adjusted, and the pH is adjusted to 8.5              of (1) a carboxylic acid, a hydroxy carboxylic acid, a dicar
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boxylic acid, with at least of its acid group pKS greater than               15. The formulation of claim 8 having (1) a weight ratio of
3.0, a salt thereof, or a mixture of said carboxylic acid and said        argatroban or pharmaceutically acceptable salt thereof: lac
salt thereof and (2) an alkali metal or ammonium carbonate,               tobionic acid or pharmaceutically acceptable salt thereof
alkali metal or ammonium bicarbonate, or mixtures thereof.                methionine or pharmaceutically acceptable salt thereof (each
  5. The formulation of claim 1 wherein said buffer is an            5    based on the respective non-salt forms) of about 1: about 2:
acetate buffer, an amino acid buffer, or alkali metal or ammo             about 2 or (2) a weight ratio of argatroban or pharmaceuti
nium carbonate/bicarbonate buffer.                                        cally acceptable salt thereof alkali metal or ammonium salt
  6. The formulation of claim 1 wherein said methionine is                or mixture of alkali metal or ammonium salts of carbonic acid
present in aft amount of about 1 mg/ml to about 50 mg/ml.                 (based on CO) of about 1: about 1.9 to about 2.0: about 2 or
   7. The formulation of claim 1 packaged in a vial selected         10   (3) a weight ratio of argatroban or pharmaceutically accept
from 5 mg/vial to 500 mg/vial or in an IV infusion bag of a               able salt thereof: alkali metal or ammonium salt or mixture of
size selected from 25 ml/bag to about 500 ml/bag.                         alkali metal or ammonium salts of carbonic acid (based on
   8. The argatroban formulation of claim 1 as a ready-to                 CO) of about 1: about 4.1 to about 4.2: about 2.
administer aqueous solution comprising                                       16. A reconstitutable formulation of argatroban compris
   (a) argatroban or a pharmaceutically acceptable salt              15   1ng
      thereof in an amount of at least 0.75 mg/ml (based on the             (a) said argatroban or a salt thereof or mixtures thereof,
      argatroban moiety);                                                   (b) methionine or a salt thereof or mixtures thereof,
   (b)(1) lactobionic acid or a pharmaceutically acceptable                 (c) lactobionic acid or salt thereof or mixtures thereof, and
      salt thereof in an amount (based on the non-salt form                 (d) an alkali metal salt or ammonium salt of carbonic acid
                                                                                or mixtures thereof.
      thereof) or a mixture of said lactobionic acid and lacto
      bionic acid salt of at least 1.5 times the weight of the               17. A method of reducing dosage administration errors in
      argatroban (based on the argatroban moiety) and/or                  administering argatroban comprising providing a pharma
   (b)(2) analkali metal or ammonium salt or mixture of alkali            ceutically acceptable concentrate formulation or a ready-to
     metal or ammonium salts of carbonic acid or mixture of               administer formulation of argatroban as defined by the for
                                                                     25   mulation of claim 1.
     lactobionic acid salts in an amount based on CO of at                   18. A method of treating thrombosis comprising adminis
     least 1.4 times the weight of the argatroban (based on the           tering to a patient having an argatroban treatable condition the
     argatroban moiety); and
  (c) methionine or a pharmaceutically acceptable salt                    composition of claim 1.
     thereof in an amount (based on the non-salt form of                     19. The method of claim 18 where said composition is in a
     methionine) of at least 1.5 times the weight of the arga        30   ready-to-administer form.
     troban (based on the argatroban moiety).                                20. The method of claim 18 where said composition is in
  9. The formulation of claim 8 wherein said argatroban or                the form of a concentrate and diluting said concentrate with
pharmaceutically acceptable salt thereof is present in an                 an injectably Suitable aqueous diluent to a Suitable concen
amount of about 0.75 mg/ml to about 1.25 mg/mlbased on the                tration for injection.
argatroban moiety.                                                   35      21. A method of treating an argatroban treatable condition
  10. The formulation of claim 8 wherein said lactobionic
                                                                          comprising administering to a patient having an argatroban
acid or pharmaceutically acceptable salt thereof is present               treatable condition a pharmaceutically acceptable formula
                                                                          tion of argatroban of formula I or a pharmaceutically accept
(based on the non-salt form thereof) in an amount of not more             able salt thereof,
than 2.5 times the weight of the argatroban (based on the            40     which is solubilized in aqueous solution, comprising
argatroban moiety) or said alkali metal or ammonium salt or                   (a) argatroban of formula I or a pharmaceutically accept
mixture of alkali metal or ammonium salts of carbonic acid is
                                                                                  able salt thereof,
present in an amount based on CO of not more than 5.2 times                   (b) methionine;
the weight of the argatroban (based on the argatroban moi                     (c) lactobionic acid;
ety).                                                                45       (d) a buffer;
  11. The formulation of claim 8 wherein said methionine or
pharmaceutically acceptable salt thereof is present (based on               and has a pH in excess of 8.5
the non-salt form thereof) in an amount of not more than 2.5
times than weight of the argatroban (based on the argatroban                                                                            (I)
moiety).                                                             50                                         O
                                                                                                                    O       OH
   12. The formulation of claim 8 having a pH in excess of 8.6.
   13. The formulation of claim 8 having a pH of about 8.7,
about 8.8, about 8.9, about 9.0, about 9.1, or about 9.2.
   14. The formulation of claim 8 having (1) a weight ratio of                  HN        H
                                                                                              ~.               nS
argatroban or pharmaceutically acceptable salt thereof: lac          55                                H                         CH3
tobionic acid or pharmaceutically acceptable salt thereof:                                                     2 So     H
                                                                                                                        N
methionine orpharmaceutically acceptable salt thereof (each
based on the respective non-salt forms) of about 0.75 to about
1.25: about 1.50 to about 2.50: about 1.50 to about 2.50 or (2)
a weight ratio of argatroban or pharmaceutically acceptable          60                                                          CH3.
salt thereof: alkali metal or ammonium salt or mixture of
alkali metal or ammonium salts of carbonic acid (based on                    22. The formulation of claim 1 which is (a) substantially
methionine orpharmaceutically acceptable salt thereof (each               free of ethanol and (b) substantially free of a mono-, di-, or
of the argatroban salt and amino acid salt based on the respec            oligo-saccharide and Substantially free of a Sugar alcohol.
tive non-salt forms) of about 0.75 to about 1.25: about 1.4 to       65
about 5.2: about 1.50 to about 2.50.                                                              k    k   k    k   k
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                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                  : 7,687,516 B2                                                                                       Page 1 of 1
APPLICATIONNO.              : 11/973485
DATED                       : March 30, 2010
INVENTOR(S)                 : Nageswara R. Palepu.
It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:

         Please correct the following:
         a) Column 13, line 9 in claim 6,
         “aft should read -an--

         b) Column 13, lines 62 and 63 in claim 14,
         insert --CO3):--
         between “on and “methionine'




                                                                                        Signed and Sealed this



                                                                                                    David J. Kappos
                                                                               Director of the United States Patent and Trademark Office
